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      EXHIBIT 1
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                                                                                           US010833363B2

( 12) United States Patent                                              ( 10) Patent No .: US 10,833,363 B2
        Wang et al .                                                    (45 ) Date of Patent :  Nov. 10 , 2020
( 54 ) ELECTROLYTE AND ELECTROCHEMICAL                             ( 56 )                  References Cited
        DEVICE
                                                                                    U.S. PATENT DOCUMENTS
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                  TECHNOLOGY LIMITED , Ningde                               9,812,739 B2
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( 72 ) Inventors : Kefei Wang , Ningde ( CN) ; Qiao Zeng ,
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                     ( CN) ; Fei Wu , Ningde (CN)                  CN               101640290 A        2/2010
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( 73 ) Assignee : NINGDE AMPEREX                                                              (Continued )
                     TECHNOLOGY LIMITED , Ningde
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                                                                                      OTHER PUBLICATIONS
( * ) Notice:        Subject to any disclaimer, the term of this
                     patent is extended or adjusted under 35       Extended European Search Report dated Jan. 14 , 2020 in European
                     U.S.C. 154 (b ) by 110 days .                 application 19198416.0 , 7 pages in English .
                                                                                              (Continued )
( 21 ) Appl. No .: 16 /211,853
(22 ) Filed :      Dec. 6 , 2018                                   Primary Examiner Kenneth J Douyette
                                                                   (74 ) Attorney, Agent, or Firm - Juan Carlos A. Marquez ,
( 65 )                Prior Publication Data                       Marquez IP Law Office, PLLC
        US 2020/0099098 A1            Mar. 26 , 2020               ( 57 )                     ABSTRACT
( 30)            Foreign Application Priority Data                 The present application relates to an electrolyte and an
                                                                   electrochemical device comprising the electrolyte. The elec
   Sep. 21 , 2018 (CN ) ......................   2018 1 1108529    trolyte comprises a dinitrile compound , a trinitrile com
                                                                   pound, and propyl propionate , wherein , based on the total
(51 ) Int. Cl.                                                     weight of the electrolyte , the content X of the nitrile com
        HOIM 10/0566              ( 2010.01 )                      pound and the content Y of the trinitrile compound meet the
        HOIM 10/0525              (2010.01 )                       conditions represented by Formula ( 1 ) and Formula ( 2 ) :
        HOIM 4/13                (2010.01)                         { about 2 wt % s (X +Y) sabout 11 wt % ... (1), about
(52) U.S. Cl.                                                      0.15 ( X / Y ) sabout 8 ... (2 ) } . The electrolyte of the present
       CPC ... HOIM 10/0566 (2013.01 ) ; HOIM 10/0525              application is capable of effectively inhibiting the increase in
                     ( 2013.01 ) ; HOIM 2300/0025 ( 2013.01 )      DC internal resistance of an electrochemical device so that
( 58 ) Field of Classification Search                              the electrochemical device has excellent cycle and storage
       CPC ......... HO1M 10/05 ; HOTM 10/0566 ; HOLM              performance.
                                                        10/0545
        See application file for complete search history .                       16 Claims , 3 Drawing Sheets




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                                190




     DCirmohm()enstiertna cle   140                                                   D1-1
                                                                                      S1-1
                                                                                  -   S1-2
                                 90




                                 40
                                      70 %             20 %              10 %

                                                 State of charge

                                                  FIG . la
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                                                  190



                      DCir(mohm)enstiertna cle    140                                         D1-1
                                                                                              S1-1
                                                   90                                        · S1-2



                                                   40
                                                             70 %        20 %         10 %
                                                                    State of charge

                                                                     FIG . 1b

                                                 190



           DCir(mohm)enstiertancle               140                                           D1-1
                                                                                               S1-1
                                                                                               S1-2
                                                 90


                                                  40
                                                            70 %         20 %         10 %

                                                                    State of charge

                                                                     FIG . 1c
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                        2




                                   FIG . 2


                                                        2




                                  FIG . 3



                                  Electrode

                                   FIG . 4
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                                                   US 10,833,363 B2
                                     1                                                                         2
    ELECTROLYTE AND ELECTROCHEMICAL                                     According to an embodiment of the present application ,
                                DEVICE                                the weight percentage (Y) of the trinitrile compound and the
                                                                     weight percentage ( Z ) of the propyl propionate based on the
           BACKGROUND OF THE INVENTION                               total weight of the electrolyte meet the condition represented
                                                                   5 by Formula ( 3 ) :
   The present application claims the benefit of priority from              about 0.015 ( Y / Z ) sabout 0.3                      (3 ) .
China Patent Application No. 201811108529.X , filed on 21
Sep. 2018 , the disclosure of which is hereby incorporated by            According to an embodiment of the present application ,
reference in its entirety.                                            the weight percentage of the dinitrile compound is X , and X
                      1. Field of the Invention                    10 is about 0.01-10 wt % ; the weight percentage of the trinitrile
                                                              compound is Y , and Y is about 0.01-10 wt % ; and the weight
                                                              percentage of the propyl propionate is Z , and Z is about 5-50
   The present disclosure relates to the technical field of wt % . The electrolyte
energy storage technologies, in particular to an electrolyte present application canaccording   to the embodiments of the
                                                                                      effectively inhibit the increase in DC
and an electrochemical device containing the electrolyte. 15 internal resistance of the   electrochemical device, thereby
              2. Description of the Related Art               achieving a better effect.
                                                                According to an embodiment of the present application ,
   With the rapid development of electronic devices and the electrolyte further comprises a fluoroether, wherein
electric vehicles , the requirement for high capacity electro based on the total weight of the electrolyte , the content of
chemical devices has grown. In order to increase capacity 20 fluoroether is about 0.01-10 wt % . The fluoroether can form
density of electrochemical devices, there is a need for a better protective film with the trinitrile compound , thereby
effective methods to develop high -voltage electrochemical improving the DC internal resistance and the storage per
devices.                                                         formance of the electrochemical device .
   At present, electrochemical devices with a working volt         According to an embodiment of the present application ,
age above 4.4V have become a hot research area in many 25 the electrolyte further comprises a cyclic phosphonic anhy
research institutes and enterprises. However, at high volt       dride, wherein , based on the total weight of the electrolyte,
ages , the oxidation activity of the positive electrode material the content of the cyclic phosphonic anhydride is about
increases, and the stability decreases , which makes the 0.01-10 wt % . The addition of the cyclic phosphonic anhy
electrolyte decompose on the surface of the positive elec        dride can further inhibit the increase in DC internal resis
trode easily or cause deterioration of the battery material, 30 tance during the cycle .
resulting in a decrease in battery capacity. In order to solve        According to an embodiment of the present application ,
the above problems, it is definitely necessary to provide an       the electrolyte further comprises one selected from the group
improved electrochemical device .                                  consisting of: a cyclic carbonate ester having a carbon
              SUMMARY OF THE INVENTION
                                                                   carbon double bond , a fluorinated chain carbonate ester, a
                                                                35 fluorinated cyclic carbonate ester, a compound having a
                                                                   sulfur -oxygen double bond , and any combination thereof.
   An embodiment of the present application provides an These compounds can form a firm protective film which is
electrolyte and an electrochemical device containing the not easily to be decomposed at the electrode interface with
electrolyte , wherein the electrolyte comprises a compound the dinitrile compound, the trinitrile compound and propyl
comprising two cyano groups (herein also referred to as “ a 40 propionate, thereby further inhibiting the side reactions in
dinitrile compound " ), a compound comprising three cyano the electrochemical device and reducing the voltage drop
groups ( herein also referred to as “ a trinitrile compound ” ), during storage of the electrochemical device, so as to
and propyl propionate. The dinitrile compound can form a improve the long - term storage performance and reliability of
protective film on the cathode of the electrochemical device , the electrochemical device .
so as to inhibit the decomposition of the solvent in the 45 In another embodiment, the present application provides
electrochemical device . However, since the protective film an electrochemical device and an electronic device using the
itself is decomposed on the surface of the cathode at a highelectrochemical device. The electrochemical device com
potential, the effect of inhibiting decomposition of the prises electrodes and an electrolyte which is any of the
solvent cannot be sustained for a long time . The present electrolyte described above .
inventors unexpectedly found that by using a mixture of a 50 According to an embodiment of the present application ,
dinitrile compound , a trinitrile compound and propyl pro   the electrode includes a current collector and a coating on
pionate, a firm protective film which is not easily decom   the current collector. The coating includes a single - sided
posed on the surface of the cathode at a high potential can coating, a double - sided coating, or a combination thereof.
be formed . The electrolyte according to the embodiment of The single - sided coating is a coating formed by applying a
the present application can effectively inhibit the increase in 55 slurry on one surface of the current collector. The double
DC internal resistance of the electrochemical device .                sided coating is a coating formed by applying a slurry on two
  In an embodiment, the present application provides an               surfaces of the current collector. The electrode with the
electrolyte. The electrolyte comprises a dinitrile compound ,         single -sided coating has an electrode compaction density
a trinitrile compound , and propyl propionate, wherein, based D1 , and the electrode with the double - sided coating has an
on the total weight of the electrolyte, the weight percentage 60 electrode compaction density D2 , wherein D1 and D2 meet
(X ) of the dinitrile compound and the weight percentage (Y) the following relationship : about 0.85D1/D2sabout 1.2 .
of the trinitrile compound based on the total weight of the        According to an embodiment of the present application ,
electrolyte solution meet the conditions represented by For           the electrode s include a cathode and an anode In some
mula ( 1 ) and Formula ( 2 ) :                                        embodiments , when the electrode is an cathode, about 3.5
      about 2 wt % s ( X + Y ) sabout 11 wt %          ( 1 ) ; and 65 g/cmºsD2sabout 4.3 g/cm° . In some other embodiments,
                                                                      when the electrode is an anode, about 1.2 g/cm'sD2s1.8
      about 0.15 (X /Y ) sabout 8                          (2) .      g /cm .
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                               3                                                                    4
  In the electrochemical device according to the embodi              standing of the application. The embodiments of the present
ments of the present application, when the electrolyte of the        application should not be interpreted as limitations to the
electrochemical device comprises a compound comprising               present application . Unless otherwise expressly indicated,
two cyano groups , a compound comprising three cyano                 the following terms used herein have the meanings indicated
groups, and propyl propionate, and the electrode compaction 5 below .
                                                                As used herein , the term " about” is used to describe and
densities meet the above relationships, the electrode can           depict minor variations . When used in connection with an
have  good electrical conductivity, the effects of the cathode
and anode active materials are well exerted, which is impor         event or circumstance , the term may refer to an example in
tant to controlling the expansion of electrochemical devices . which the event or circumstance occurs precisely, and an
Therefore , the electrochemical device according to the 10 example in which the event or circumstance occurs approxi
embodiments of the present application achieves high capac mately. For example, when used in connection with a value ,
ity density and has excellent cycle and storage perfor the term may refer to a range of variation less than or equal
mances .                                                            to + 10 % of the stated value , such as less than or equal to
   In another embodiment, the present application provides 35 % , less than or equal to 14 % , less than or equal to 13 % ,
an electronic device including the electrochemical device . 15 less than or equal to + 2 % , less than or equal to + 1 % , less
   Additional aspects and advantages of the embodiments of than or equal to + 0.5 % , less than or equal to + 0.1 % , or less
the present application will be partially described , illustrated than or equal to 10.05 % . In addition, amounts , ratios, and
or explained by way of examples in the description as other values are sometimes presented in a range format in
follows.                                                            this application. It is to be understood that such a range
                                                                 20 format is provided for convenience and simplicity, and
       BRIEF DESCRIPTION OF THE DRAWINGS                            should be understood flexibly to include not only the
                                                                    numerical values that are explicitly defined in the range , but
   The invention will be described according to the also all the individual values or sub -ranges that are included
appended drawings in which :                                        in the range , as if each value and sub -range are explicitly
  The drawings needed for describing the embodiments of 25 specified.
the present application or the prior art will be briefly               As used herein , “ hydrocarbyl” covers alkyl, alkenyl, and
described below to facilitate the description of the embodi alkynyl groups. For example , the hydrocarbyl may be a
ments of the present application. Obviously , the drawings in straight-chain hydrocarbon structure having 1 to 20 carbon
the following description are only a portion of the embodi atoms . The hydrocarbon group also may be a branched or
ments of the present application . For those skilled in the art, 30 cyclic hydrocarbon structure having 3 to 20 carbon atoms .
the drawings of other embodiments can be obtained accord When a hydrocarbon group having a specific number of
ing to the structures illustrated in the drawings without carbon atoms is defined , it may cover all geometric isomers
creative efforts.                                                   having the carbon number. The hydrocarbon group herein
  FIG . la shows the DC internal resistances of fresh bat            may also be a hydrocarbon group having 1 to 15 carbon
teries of Examples S1-1 and S1-2 of the present application 35 atoms , a hydrocarbon group having 1 to 10 carbon atoms, a
and Comparative Example D1-1 at different charge states           hydrocarbon group having 1 to 5 carbon atoms, a hydrocar
( 10 % SOC , 20 % SOC , and 70 % SOC ) .                          bon group having 5 to 20 carbon atoms, a hydrocarbon
   FIG . 1b shows the DC internal resistances of batteries of     group having 5 to 15 carbon atoms or a hydrocarbon group
Examples S1-1 and S1-2 of the present application and having 5 to 10 carbon atoms. Additionally, the hydrocarbon
Comparative Example D1-1 at different charge states ( 10% 40 group may be optionally substituted . For example, the
SOC , 20 % SOC , and 70 % SOC ) after 200 cycles of charge hydrocarbon group may be substituted by halo including
and discharge.                                                    fluorine, chlorine , bromine , and iodine, an alkyl group , an
   FIG . 1c shows the DC internal resistances of batteries of aryl group or a heteroaryl group .
Examples S1-1 and S1-2 of the present application and                As used herein , the “ alkyl group ” may be a linear satu
Comparative Example D1-1 at different charge states ( 10 % 45 rated hydrocarbon structure having 1 to 20 carbon atoms .
SOC , 20 % SOC , and 70 % SOC ) after 400 cycles of charge The alkyl group also may be a branched or cyclic hydro
and discharge.                                                    carbon structure having 3 to 20 carbon atoms . For example,
   FIG . 2 is a view schematically showing the structure of an the alkyl group may be an alkyl group having 1-20 carbon
electrode A with a single - sided coating of the present atoms , an alkyl group having 1-10 carbon atoms , an alkyl
application .                                                  50 group having 1-5 carbon atoms , an alkyl group having 5-20
   FIG . 3 is a view schematically showing the structure of an carbon atoms, an alkyl group having 5-15 carbon atoms , or
electrode B with a double - sided coating of the present alkyl group having 5-10 carbon atoms . When an alkyl group
application.                                                      having a specific number of carbon atoms is defined, it may
   FIG . 4 is a view schematically showing the structure of an cover all geometric isomers having the carbon number.
electrode C with a single - sided coating and a double - sided 55 Therefore , for example, “ butyl” means n -butyl, sec -butyl,
                                                                  isobutyl, tert -butyl and cyclobutyl; and “ propyl ” includes
coating of the present application .
                                                                  n -propyl, isopropyl and cyclopropyl . Examples of the alkyl
    PREFERRED EMBODIMENT OF THE PRESENT                           group include , but are not limited to , methyl, ethyl, n - propyl,
                        APPLICATION                               isopropyl , cyclopropyl, n -butyl, isobutyl , sec -butyl, tert
                                                               60 butyl, cyclobutyl, n - pentyl, isoamyl, neopentyl, cyclopentyl,
   Embodiments of the present application will be described methylcyclopentyl, ethylcyclopentyl, n -hexyl, isohexyl,
in detail below. Throughout the specification of the present cyclohexyl, n -heptyl, octyl, cyclopropyl , cyclobutyl, norbor
application, the same or similar components and compo nanyl and so on . Additionally, the alkyl group may be
nents having the same or similar functions are denoted by optionally substituted.
similar reference numerals . The embodiments described 65 As used herein , the term “ alkylene group ” means a linear
herein with respect to the figures are explanatory, and or branched divalent saturated hydrocarbon group . For
illustrative, and are provided to facilitate the basic under example , the alkylene group may be an alkylene group
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                                      5                                                                                   6
having 1-20 carbon atoms, an alkylene group having 1-15 trile compound, and propyl propionate , wherein , based on
carbon atoms, an alkylene group having 1-10 carbon atoms , the total weight of the electrolyte , the weight percentage of
an alkylene group having 1-5 carbon atoms, an alkylene the is X and the weight percentage of the trinitrile compound
group having 5-20 carbon atoms , an alkylene group having is Y , and X and Y meet the conditions represented by
5-15 carbon atoms , or alkylene group having 5-10 carbon 5 Formula ( 1 ) and Formula (2 ) :
atoms . Representative alkylene group includes ( for                                      about 2 wt % s ( X + Y ) sabout 11 wt %                      (1 ); and
example ) methylene, ethane - 1,2 - diyl ( “ ethylene ” ) , propane
1,2 - diyl , propane - 1,3 - diyl , butane - 1,4 -diyl, pentane - 1,5 -diyl               about 0.15 ( XVY ) sabout 8                                        (2 ) .
and the like . Additionally , the alkylene group may be option                    In some embodiments, X and Y meet about 2 wt % s (X +
ally substituted .                                                          10
                                                                               Y ) sabout 8 wt % and about 0.15 ( X / Y ) sabout 6 simultane
   As used herein , the term “ alkenylene group ” covers both
linear and branched alkenylene groups. When an alkenylene %ously                   s ( X
                                                                                         . In some embodiments , X and Y meet about 3 wt
                                                                                           + Y ) 56 wt % and about 0.2s ( X / Y ) sabout 5 simulta
group having a specific number of carbon atoms is defined ,
it may cover all geometric isomers having the carbon neously. In some embodiments, X and Y meet about 4 wt
number   . For example, the alkenylene group may be an 15 % 5(X + Y)sabout. In5some
alkenylene group having 2-20 carbon atoms , an alkenylene 2simultaneously
                                                                                                                wt %embodiments
                                                                                                                          and about, X0.3sand(XY/Ymeet
                                                                                                                                                   ) sabout
                                                                                                                                                        about
                                                                                                                                                              4
group having 2-15 carbon atoms , an alkenylene group                             wt % s (X +Y) sabout 5 wt % and about 0.15 ( X / Y ) sabout 1
having 2-10 carbon atoms , an alkenylene group having 2-5 simultaneously          In      some
                                                                                                      .
                                                                                                  embodiments         , based on the total weight of the
carbon atoms , an alkenylene group having 5-20 carbon electrolyte, the weight percentage                                         of the trinitrile compound
atoms , an alkenylene group having 5-15 carbon atoms , or 20 is Y and the weight percentage of the                                  propyl propionate is Z ,
alkenylene group having 5-10 carbon atoms . Representative and Y and Z meet the condition represented                                       by Formula ( 3 ) :
alkenylene group includes ( for example ) ethenylene, prope
nylene, butenylene and the like . Additionally, the alkenylene             about 0.01s ( Y / Z ) sabout 0.3                          (3 ) .
group may be optionally substituted .                                   In some embodiments, Y and Z meet about 0.015 ( Y / Z )
cyclic and polycyclic systems . A polycyclic ring may have 0.02s ( Y 0.2
  As  used herein , the term “ aryl” encompasses       both mono-  25 sabout      . In some embodiments, Y and Z meet about
                                                                              / Z ) sabout 0.1 .
two or more rings in which two carbons are shared by two                In some embodiments, the weight percentage of the
adjacent rings (where the rings are “ fused ” ) , in which at least dinitrile
one of the rings is aromatic and other rings may be for ments, thecompound                       is about 0.01-10 wt % . In some embodi
                                                                                   weight percentage of the dinitrile compound is
example
group , a, heterocyclyl
            a cycloalkyl group
                         group,anda cycloalkenyl   groupgroup
                                     / or a heteroaryl    , an. aryl
                                                                 For 30 not
                                                                        not less than about 0.01 wt %, not less than about 0.1 wt %,
example , the aryl group may be a C6 - C50 aryl group , a                   less than about 0.3 wt % , or not less than about 0.5 wt
                                                                  % . In some embodiments, the weight percentage of the
Co - C40 aryl group , a Co - C30 aryl group , a Co - C20 aryl group ,
or a Co- Clo aryl group . Representative aryl group includes      dinitrile compound is not greater than about 10 wt % , not
( for example ) phenyl, methylphenyl, propylphenyl, isopro- 35 greater
                                                                     In
                                                                           than about 8 wt % , or not greater than about 6 wt % .
                                                                          some  embodiments, the weight percentage of the
pylphenyl, benzyl and naphthalen - 1 - yl, naphthalen - 2 -yl and trinitrile compound  is about 0.01-10 wt % . In some embodi
the like . Additionally, the aryl group may be optionally ments, the weight percentage             of the trinitrile compound is
substituted .
  As used herein , the term “ heteroaryl group ” covers a not
                                                            not
                                                                less than about 0.01 wt % , not less than about 0.1 wt % ,
                                                                less than about 0.3 wt % , or not less than about 0.5 wt
monocyclic heteroaromatic group which may include one to 40 % . In  some embodiments, the weight percentage of the
three heteroatoms, for example , pyrrole, furan , thiophene , trinitrile compound is not greater than about 10 wt % , not
imidazole , oxazole , thiazole , triazole, pyrazole, pyridine, greater than about 8 wt % , not greater than about 5 wt % , not
pyrazine, pyrimidine, and the like . The term heteroaryl greater           than about 4 wt % , or not greater than about 3 wt % .
group also includes a polycyclic heteroaromatic system               In some embodiments, the weight percentage of the
having two or more rings in which two atoms are shared by 45 propyl        propionate is about 5-50 wt % . In some embodi
two adjacent rings ( where the ring is “ fused ” ), in which at ments, the
least one of the rings is a heteroaryl group , and other rings about 5-40weight   wt % ,
                                                                                         percentage (Z ) of the propyl propionate is
                                                                                          about 10-40 wt % , about 10-30 wt % ,
may be a cycloalkyl group , a cycloalkenyl group , an aryl about 20-50 wt % , about             20-40 wt % , about 20-30 wt % , or
group, a heterocyclyl group and / or a heteroaryl group . The about 25-30 wt % .
heteroatom in the heteroaryl group may be for example 0 , 50 Compound Comprising Two Cyano Groups (Dinitrile
S , N , Se , and so on . For example, the heteroaryl group may
be a C2 - C50 heteroaryl group , a C2 - C40 heteroaryl group , a Compound
                                                                     In some
                                                                                )
                                                                                embodiments, the dinitrile compound according
C2 - C30 heteroaryl group , a C2 - C20 heteroaryl group , or a to the present
C2 - C10 heteroaryl group . Additionally, the aryl group may be [ 4 ] or [ 5 ] : application includes a compound of Formula
optionally substituted .                                        55
                                                                        CN — R1 - CN                                             [ 4 ],
    When the above substituents are substituted , the substitu
ent is selected from the group consisting of halogen , an alkyl         CN — R2–0 R3 ) n - O - R4 - CN                           [5 ] ,
group , a cycloalkyl group, an alkenyl group , an aryl group ,
and a heteroaryl group .                                             or a combination thereof,
    As used herein , the content of each component is obtained 60 wherein in Formula [ 4 ] or [ 5 ] , R1 , R2, Rz and R4 are each
based on the total weight of the electrolyte.                      independently an alkylene having 1-20 carbon atoms , for
    I. Electrolyte                                                 example, an alkylene group having 1-15 carbon atoms, an
    An embodiment of the present application provides an alkylene group having 1-10 carbon atoms , an alkylene group
electrolyte , which comprises an electrolyte and a solvent in having 1-5 carbon atoms, an alkylene group having 5-10
which the electrolyte is dissolved . It is one of the main 65 carbon atoms , an alkylene group having 5-20 carbon atoms ,
characteristics of the electrolyte of the present application an alkylene group having 5-15 carbon atoms, an alkenylene
that the electrolyte comprises a dinitrile compound, a trini                        group having 2-20 carbon atoms , an alkenylene group
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having 2-15 carbon atoms , an alkenylene group having 2-10    and X each independently may be -R , CN , wherein R ,
carbon atoms , an alkenylene group having 2-5 carbon atoms,   may be an alkylene group having 1-20 carbon atoms, for
an alkenylene group having 5-20 carbon atoms, an alk          example , an alkylene group having 1-15 carbon atoms, an
enylene group having 5-15 carbon atoms , or an alkenylene     alkylene group having 1-10 carbon atoms , an alkylene group
group having 5-10 carbon atoms , and n is an integer from 0 5 having 1-5 carbon atoms, an alkylene group having 5-20
to 5 .                                                        carbon atoms , an alkylene group having 5-15 carbon atoms ,
   In some embodiments, the dinitrile compound according or Inan some
                                                                    alkylene group having 5-10 carbon atoms .
                                                                         embodiments, the trinitrile compound according
to the present application is a compound of Formula [ 4 ] or             to the present application is a compound of Formula [ 6 ] or
[ 5] .
    In some embodiments, the dinitrile compound of the 10 [ 7 ]In. some embodiments, the trinitrile compound of the
present application includes, but is not limited to , butaned present application includes , but is not limited to , 1,3,5
initrile, glutaronitrile, adiponitrile, 1,5 -dicyanopentane, 1,6
dicyanohexane , 1,7- dicyanoheptane, 1,8 -dicyanooctane, pentanetricarbonitrile
                                                                   tricarbonitrile ,  1,2,6 -
                                                                                             , 1,2,3 -propanetrinitrile , 1,3,6 -hexane
                                                                                             hexanetricarbonitrile , 1,2,3 -tris( 2 -cya
1,9 -dicyanononane, 1,10 -dicyanodecane, 1,12 - dicyanodo 15 noethoxy )propane, 1,2,4
decane, tetramethylbutanedinitrile , 2 -methylglutaronitrile, tris (cyanoethoxymethylene-tris)ethane   ( 2 -cyanoethoxy )butane, 1,1,1
                                                                                                              , 1,1,1 -tris (cyanoethoxy
2,4 -dimethylglutaronitrile, 2,2,4,4 - tetramethylglutaronitrile, methylene )propane, 3 -methyl-1,3,5
1,4 - dicyanopentane, 2,6 - dicyanoheptane, 2,7 -dicyanooc tane , 1,2,7 - tris (cyanoethoxy )heptane-,tris1,2,6      (cyanoethoxy )pen
                                                                                                                           - tris (cyanoeth
tane , 2,8 -dicyanononane, 1,6 -dicyanodecane, 1,2 -dicya oxy )hexane, or 1,2,5 - tris ( cyanoethoxy )pentane                  . The trini
nobenzene, 1,3 -dicyanobenzene, 1,4 -dicyanobenzene , 3,5 20 trile compounds may be used alone or in combination                      of two
dioxa -pimelonitrile, 1,4 -bis (cyanoethoxy )butane, ethylene
glycol bis ( 2 -cyanoethyl ) ether, diethylene glycol bis ( 2 -cya or Fluoroether
                                                                      more thereof.
                                                                                     Compound
noethyl) ether, triethylene glycol bis ( 2 -cyanoethyl) ether, tet    In some   embodiments      , the fluoroether compound of the
raethylene glycol bis ( 2 -cyanoethyl ) ether, 3,6,9,12,15,18
hexaoxaeicosanoic dinitrile , 1,3 -bis ( 2 -cyanoethoxy ) present application includes at least one of the compounds of
propane ,     1,4 -bis ( 2 -cyanoethoxy )butane, 1,5 -bis ( 2 25 Formula [ 8 ] , Formula [ 9 ] , Formula [ 10] , or Formula [ 11 ] :
cyanoethoxy) pentane, ethylene glycol bis ( 4 - cyanobutyl )          Rf1 - O -Rf2                                              [ 8] ;
ether, 1,4 - dicyano - 2 -butene, 1,4 -dicyano- 2 -methyl-2
butene, 1,4 - dicyano - 2 - ethyl - 2 -butene, 1,4 -dicyano - 2,3              Rf1-0 - R                                                        [9] ;
dimethyl- 2 -butene, 1,4 - dicyano - 2,3 -diethyl - 2 -butene, 1,6 30
dicyano - 3 -hexene, 1,6 -dicyano - 2 -methyl - 3 - hexene, or 1,6             Rf1-0— (R '- ) n - Rf2                                    [10] ; and
dicyano - 2 -methyl - 5 -methyl - 3 -hexene. The dinitrile
compounds may be used alone or in combination of two or                        Rf1-0 (R - On R                                                [ 11 ] ,
more thereof.
                                                                           where in Formulae [ 8 ] , [ 9 ] , [ 10 ] , and [ 11 ] , Rf1 and Rf2 are
     Compound Comprising Three Cyano Groups ( Trinitrile 35 each independently a linear or branched C , to C12 fluoro
Compound )                                                              alkyl group at least one hydrogen atom of which is replaced
     In some embodiments, the trinitrile compound according with
to the present application includes a compound of Formula and Rfluorine                  , R is a linear or branched C , to C12 alkyl group ,
                                                                                 ' is a linear or branched C , to C5 alkylene group , and
[ 6 ] or [ 7 ] :                                                        n is an integer from 1 to 5 .
                                                                     40      In some embodiments, the fluoroether compound of the
                                                                 (6)    present     application is a compound of Formula [ 8 ] , Formula
        CN (CH2)x —CH { (CH2)y - CN- (CH2)2 – CN ,                      [ 9 ] , Formula    [ 10 ] , or Formula [ 11 ] .
                                                                             In some embodiments, Rf1 or Rf2 is each independently
                         R5                                             a fluoroalkyl group selected from the group consisting of
        X4—      Ro C - R7-0 — X5,
                                                                     45 HCF       - CF – HCF CF2_ , CH CF2 , CF , CH-,
                                                                        CF3CF2-, (CF3 ) 2CH- , HCF2CF2CH2-, CF3CH2CH2
                         Rg                                             HCF CF, CF2CH2 - HCF CF ,CF ,CF , CH , — , CF2CF2
                                                                        CH , CF CFHCF, CH , HCF CF(CF )CH2– , and
                                                                        CF      CF ,CH ,CH2
                         X6
                                                                     50      The fluoroether can form a better protective film with the
                                                                        trinitrile compound , thereby further improving the DC inter
                                                                        nal resistance and the storage performance of the battery.
     or a combination thereof,                                               In some embodiments, the fluoroether of the present
     wherein in Formula [ 6 ] , x , y , and z represents an integer application includes, but is not limited to :
from 0 to 5 and x , y , and z are not 0 at the same time ; and 55 HCF2CF2CH2OCF2CF2H ( FEPE ) , ( CF3 ) 2CFCF (CF2CF3 )
     in Formula [ 7 ] , R, may be hydrogen or an alkyl group ( OCH2 ) ( TMMP ) , CF , CHFCF , CH ( CH2 ) OCF , CHFCF ;
having 1-20 carbon atoms, for example, an alkyl group (TPTP ) , HCF2CF2CH2OCF2CF2CF2CF2H , HCF CF2
having 1-10 carbon atoms, an alkyl group having 1-5 carbon               OCH_CF3 , HCF2CF2OCH_CH_OCF2CF2H , HCF2CF2
atoms , an alkyl group having 5-20 carbon atoms , an alkyl               OCH , CH2CH2OCF2CF2H , HCF2CF2CH2OCF2CF2CF2H ,
group having 5-15 carbon atoms , or an alkyl group having 60 HCF CF2OCH , CH_OCF, CF , CF , H , HCF CF , OCH CH ,
5-10 carbon atoms; R. , R7 , and R , each independently may CHOCF CF ,CF , H , CH ,OCH , CH OCH ,CH ,F, CH
be an alkylene group having 1-20 carbon atoms , for OCH ,CH ,OCH CF3, CHOCH_CH (CH3)OCH_CH_F ,CH,
example , an alkylene group having 1-15 carbon atoms, an OCH CH (CH3)OCH ,CF3, FCH , CH ,OCH , CH ,OCH ,
alkylene group having 1-10 carbon atoms , an alkylene group CH F, FCH2CH2OCH_CH ( CH3 ) OCH CHZF, CF3CH2O
having 1-5 carbon atoms , an alkylene group having 5-20 65 (CH2CH20 ) 2CH2CFz or CF3CH2OCH_CH (CH3)OCH CF3.
carbon atoms, an alkylene group having 5-15 carbon atoms ,               The fluoroether may be used alone or in combination of two
or an alkylene group having 5-10 carbon atoms ; and X4 , X ,             or more thereof.
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                                               9                                                          10
  The structural formulas of FEPE , TMMP, and TPTP are                         limited to , compounds of following formulae, which may be
shown below :                                                                  used alone, or in combination of two or more thereof:

                                         F2                               5
     F2HC .                                                                                                                        ( TM3P )
                  F2
                                              CHF2
     1,1 - difluoro - 2,2 - difluoroethyl - 2 ', 2'
     difluoro - 3', 3'- difluoropropyl ether,
                       ( FEPE )                                           10                     -0 ,
                         F2
      F3                C – CF3
             CF                                                                                                                    ( TE3P )
      F3C                          -CH3,                                  15
        2 - trifluoromethyl-3
     methoxyperfluoropentane,
               ( TMMP )
              F                CH3
                                                      CF3.                20                                                           (T3P)
     F3C
                       F2

     2-( trifluoro - 2 - fluoro - 3 -difluoropropoxy)
      3 -difluoro - 4 - fluoro - 5 - trifluoropentane.
                              ( TPTP )                                    25


   In some embodiments, based on the total weight of the
electrolyte , the content of the fluoroether is not less than
about 0.01 wt % , not less than about 0.1 wt % , or not less 30
than about 0.5 wt % . In some embodiments, the content of
the fluoroether is not greater than about 5 wt % , not greater
than about 4 wt % , not greater than about 3 wt % , or not
greater than about 2 wt % .
  Cyclic Phosphonic Anhydride Compound                                    35
  In some embodiments , the cyclic phosphonic anhydride
according to the present application includes one or more of
the compounds of Formula [ 12 ] :
                                                                          40
                                                                 [ 12 ]
                            R 12
                              O
     Ruis                    P = 0,                                       45                            P=O
                                   R10

  wherein in Formula [ 12 ] , R10 , R11 , and R12 each inde
pendently may be hydrogen ; each independently may be an 50
alkyl group having 1-20 carbon atoms , for example, an alkyl
group having 1-15 carbon atoms, an alkyl group having 1-10
carbon atoms , an alkyl group having 1-5 carbon atoms, an
alkyl group having 5-20 carbon atoms , an alkyl group 55
having 5-15 carbon atoms , and an alkyl group having 5-10
carbon atoms ; and each independently may be an aryl group
having 6-50 carbon atoms, for example, an aryl group
having 6-30 carbon atoms , an aryl group having 6-26 carbon
atoms , an aryl group having 6-20 carbon atoms, an aryl 60
group having 10-50 carbon atoms, an aryl group having
10-30 carbon atoms, an aryl group having 10-26 carbon
atoms , or an aryl group having 10-20 carbon atoms , wherein
R10 , R11 , and R12 may be different from or the same as each
other, or any two of them are the same.                       65
   In some embodiments , the cyclic phosphonic anhydride
compound of the present application includes, but is not
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            11                                     12.
         -continued                            -continued

                               5




                              10




                              15




                  _           20
                                               =O



                              25




                              30




                              35




                              40




                              45



                                                            0
                              50




                              55




                              60




                              65
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                             13                                                                  14
                         -continued                                phosphonic anhydride is not less than about 0.3 wt % or not
                                                                   less than about 0.5 wt % . In some embodiments, the content
                                                                   of the cyclic phosphonic anhydride is not greater than about
                                                               5
                                                                   4 wt % or not greater than about 3 wt % .
                                                                     Other Additives
                                                                     The electrolyte of the present application may further
                                                                  comprises one or more selected from the group consisting
                                                                  of: a cyclic carbonate ester having a carbon - carbon double
                                                               10
                                                                  bond   , a fluoro chain carbonate ester, a fluorinated cyclic
                                                                  carbonate ester, or a compound having a sulfur -oxygen
                                                                  double bond .
                                                                     In some embodiments , the cyclic carbonate ester having
                                                                  a carbon -carbon double bond useful in the present applica
                                                               15 tion includes, but is not limited to : vinylene carbonate ,
                                                                  methyl vinylene carbonate, ethyl vinylene carbonate , 1,2
                                                                  dimethyl vinylene carbonate , 1,2 -diethyl vinylene carbon
                                                                  ate , fluorovinylene carbonate, and trifluoromethylvinylene
                                                                  carbonate ; vinyl ethylene carbonate, 1 -methyl-2 -vinylethyl
                                                               20 ene carbonate , 1 -ethyl - 2 -vinylethylene carbonate, 1 -n - pro
                                                                  pyl - 2 -vinylethylene carbonate, 1 -methyl - 2 - vinylethylene
                                                                  carbonate, 1,1 -divinylethylene carbonate , and 1,2 -divinyl
                                                                  ethylene carbonate; and 1,1 - dimethyl - 2 -methylene ethylene
                                                                  carbonate , and 1,1 -diethyl - 2 -methylene ethylene carbonate .
                                                               25 The cyclic carbonate ester having a carbon - carbon double
                                                                  bond may be used alone or in combination of two or more
                                                                   thereof.
                                                                     In some embodiments, based on the total weight of the
                                                                   electrolyte , the content of the cyclic carbonate ester having
                                                               30 a carbon - carbon double bond is not less than about 0.01 wt
                                                                   % , not less than about 0.1 wt % , or not less than about 0.3
                                                                  wt % . In some embodiments, the content of the cyclic
                                                                  carbonate ester having a carbon - carbon double bond is not
                                                                  less than about 0.5 wt % . In some embodiments, the content
                                                               35 of the cyclic carbonate ester having a carbon - carbon double
                                                                  bond is not greater than about 5 wt % , not greater than about
                                                                  3 wt % , or not greater than about 1 wt % .
                     .
                                                                     In some embodiments, the fluorinated chain carbonate
                                                                  ester according to the present application includes , but is not
                                                               40 limited to : fluoromethmetyl carbonate , difluoromethmethyl
                                                                  carbonate, trifluoromethmethyl carbonate, trifluoroethm
                                                                  ethyl carbonate , or bis (trifluoroethyl) carbonate . The fluo
                                                                  rinated chain carbonate ester may be used alone or in
                                                        or        combination of two or more thereof.
                                                               45    In some embodiments , based on the total weight of the
                                                                   electrolyte , the content of the fluorinated chain carbonate
                                                                   ester is not less than about 0.01 wt % or not less than about
                                                                   0.1 wt % . In some embodiments, the content of the fluori
                                                                   nated chain carbonate ester is not less than about 0.3 wt % .
                                                               50 In some embodiments , the content of the fluorinated chain
                                                                   carbonate ester is not less than about 0.5 wt % . In some other
                                                                   embodiments, the content of the fluorinated chain carbonate
                                                                  ester is not greater than about 3 wt % or not greater than
                                                                  about 5 wt % . In some other embodiments, the content of the
                                                               55 fluorinated chain carbonate ester is not greater than about 1
                                                                wt % . In some embodiments, the fluorinated cyclic carbon
                                                                ate ester according to the present application includes , but is
                                                                not limited to , fluoroethylene carbonate , 4,4 -difluoroethyl
                                                                ene carbonate, 4,5 - difluoroethylene carbonate, 4 - fluoro -4
                                                             60 methylethylene carbonate , 4,5 -difluoro - 4 -methylethylene
                                                                carbonate, 4 - fluoro - 5 -methylethylene carbonate , 4,4 - dif
                                                                luoro - 5 -methylethylene carbonate, 4-( fluoromethyl)-ethyl
                                                                ene carbonate , 4- ( difluoromethyl ) -ethylene carbonate ,
   In some embodiments, based on the total weight of the 4 - trifluoromethyl ) -ethylene carbonate, 4-(fluoromethyl) -4
electrolyte , the content of the cyclic phosphonic anhydride 65 fluoroethylene carbonate , 4- ( fluoromethyl) -5 - fluoroethylene
is not less than about 0.01 wt % or not less than about 0.1     carbonate , 4 - fluoro -4,5 - dimethylethylene carbonate, 4,5 -di
wt % . In some embodiments, the content of the cyclic fluoro - 4,5 -dimethylethylene carbonate, and 4,4 -difluoro - 5 ,
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                               15                                                                     16
5 -dimethylethylene carbonate . The fluorinated cyclic car             1,3 -propanesultone, 1 - fluoro - 1,3 -propanesultone, 2 - fluoro
bonate esters may be used alone or in combination of two or 1,3 -propanesultone, 3 - fluoro - 1,3 - propanesultone, 1-methyl
more thereof.                                                         1,3 -propanesultone,           2 -methyl - 1,3 -propanesultone,
   In some embodiments, the content of the fluorinated 3 -methyl- 1,3 - propanesultone, 1 -propene - 1,3 - sultone , 2 -pro
cyclic carbonate ester is not less than about 0.1 wt % based 5 pene - 1,3 -sultone, 1 - fluoro - 1 -propene- 1,3 - sultone, 2 - fluoro
on the total weight of the electrolyte. In some embodiments, 1 -propene - 1,3 -sultone,           3 - fluoro - 1 -propene -1,3 -sultone,
the content of the fluoro cyclic carbonate ester is not less 1 - fluoro - 2 -propene - 1,3 -sultone, 2 - fluoro - 2 -propene- 1,3 -sul
than about 0.5 wt % . In some embodiments, the content of tone , 3 - fluoro - 2 -propene - 1,3 -sultone, 1 -methyl - 1-propene
the fluorinated cyclic carbonate ester is not less than about 1,3 - sultone , 2 -methyl - 1 - propene - 1,3 - sultone, 3 -methyl-1
2 wt % . In some embodiments, the content of the fluorinated 10 propene - 1,3 - sultone,         1 -methyl - 2 -propene - 1,3 -sultone,
cyclic carbonate ester is not less than about 4 wt % . In some 2 -methyl- 2 -propene - 1,3 - sultone, 3 -methyl-2 -propene - 1,3
embodiments, the content of the fluorinated cyclic carbonate sultone, 1,4 -butane sultone , 1,5 -pentane sultone, methylene
ester is not greater than about 15 wt % . In some embodi methanedisulfonate , and ethylene methanedisulfonate. The
ments, the content of the fluorinated cyclic carbonate ester cyclic sulfonate ester may be used alone or in combination
is not greater than about 10 wt % . In some embodiments, the 15 of two or more thereof.
content of the fluorinated cyclic carbonate ester is not                 In some embodiments, the chain sulfite ester according to
greater than about 8 wt % .                                           the present application includes, but is not limited to :
   In some embodiments, the compound having a sulfur dimethyl sulfite, methyl ethyl sulfite , and diethyl sulfite . The
oxygen double bond according to the present application chain sulfite ester may be used alone or in combination of
includes , but is not limited to : a cyclic sulfate ester, a chain 20 two or more thereof.
sulfate ester, a chain sulfonate ester, a cyclic sulfonate ester,        In some embodiments , the cyclic sulfite ester according to
a chain sulfite ester, a cyclic sulfite ester, a chain sulfone, a the present application includes, but is not limited to :
cyclic sulfones, and so on . The compound having a sulfur 1,2 - ethylene glycol sulfite, 1,2 -propylene glycol sulfite, 1,3
oxygen double bond may be used alone or in combination of propylene glycol sulfite, 1,2 - butylene glycol sulfite , 1,3
two or more thereof.                                               25 butylene glycol sulfite, 1,4 -butylene glycol sulfite, 1,2
   In some embodiments, based on the total weight of the pentylene glycol sulfite , 1,3 -pentylene glycol sulfite, 1,4
electrolyte, the content of the compound having a sulfur pentylene glycol sulfite , and 1,5 -pentylene glycol sulfite .
oxygen double bond is not less than about 0.01 wt % . In The cyclic sulfite ester may be used alone or in combination
some embodiments, the content of the compound having a of two or more thereof.
sulfur -oxygen double bond is not less than about 0.1 wt % . 30 In some embodiments , the chain sulfone ester according
In some embodiments, the content of the compound having to the present application includes , but is not limited to : a
a sulfur -oxygen double bond is not less than about 0.3 wt % . dialkyl sulfone compound such as dimethyl sulfone, and
In some embod its, the content of the compound having diethyl sulfone.
a sulfur - oxygen double bond is not less than about 0.5 wt % .          In some embodiments , the cyclic sulfone according to the
In some other embodiments , the content of the compound 35 present application includes , but is not limited to : sulfolane,
having a sulfur -oxygen double bond is not greater than about methyl sulfolane, 4,5 - dimethyl sulfolane, and sulfolene . The
5 wt % . In some embodiments , the content of the compound cyclic sulfone may be used alone or in combination of two
having a sulfur -oxygen double bond is not greater than about or more thereof.
4 wt % . In some embodiments , the content of the compound               Electrolyte
having a sulfur -oxygen double bond is not greater than about 40 The electrolyte used in the electrolyte according to the
3 wt % .                                                          embodiments of the present application may be an electro
    In some embodiments, the cyclic sulfate ester according lyte known in the prior art, including, but not limited to : an
to the present application includes , but is not limited to : inorganic lithium salt , for example LiClO4 , LiAsF6 , LiPF6 ,
1,2 - ethylene glycol sulfate, 1,2 - propylene glycol sulfate , LiBF4 , LiSbF . , LiSO3F, and LiN ( FSO2 ) 2 ; a fluorine -con
 1,3 -propylene glycol sulfate , 1,2 -butylene glycol sulfate, 45 taining organic lithium salt, for example LiCF2SO3 , Lin
1,3 -butylene glycol sulfate, 1,4 -butylene glycol sulfate, 1,2 ( FSO ) CF2SO2), LiN ( CF2SO2 ) 2 , LiN (C2F SO2)2, cyclic
pentylene glycol sulfate , 1,3 -pentylene glycol sulfate , 1,4     lithium 1,3 -hexafluoropropane disulfonimide, cyclic lithium
pentylene glycol sulfate, and 1,5 - pentylene glycol sulfate. 1,2 -tetrafluoroethane disulfonimide, LiN (CF2802)
The cyclic sulfate ester may be used alone or in combination (CAF ,802), LiC (CF, SO2)3, LiPF4CF3) , LIPF . ( C2F5 ) 2 ,
of two or more thereof.                                         50 LiPF4 ( CF2SO2 ) 2 , LiPF4 ( C2F - SO2 ) 2 , LiBF2 (CF3 ) 2 , LiBF2
   In some embodiments , the chain sulfate ester according to (C2F5 ) 2 , LiBF2 (CF2SO2 ) 2 , and LiBF2 (C2F.S02 ) 2 ; and a
the present application includes, but is not limited to : a lithium salt containing a dicarboxylic acid complex, for
dialkyl sulfate such as dimethyl sulfate , methyl ethyl sulfate, example, lithium bis ( oxalato )borate, lithium difluoro ( oxala
and diethyl sulfate. The chain sulfate ester may be used to )borate, lithium tris (oxalato )phosphate, lithium difluoro
alone or in combination of two or more thereof.                 55 bis (oxalato )phosphate, and lithiumtetrafluoro (oxalato )phos
   In some embodiments , the chain sulfonate ester according phate. In addition, the electrolyte may be used alone or in
to the present application includes , but is not limited to : combination of two or more thereof. For example, in some
methyl fluorosulfonate , ethyl fluorosulfonate, methyl meth        embodiments, the electrolyte includes a combination of
anesulfonate , ethyl methanesulfonate , butyl dimesylate , LiPF and LiBF4 . In some embodiments, the electrolyte
methyl 2- (methylsulfonyloxy)propionate, ethyl 2- (methyl- 60 includes a combination of an inorganic lithium salt such as
sulfonyloxy )propionate, methyl methylsulfonyloxyacetate , LiPF or LiBF , and a fluorine-containing organic lithium
ethyl methylsulfonyloxyacetate, phenyl methylsulfonate, salt such as LiCF3SO3 , LiN ( CF2SO2 ) 2 , or LiN ( C2F3SO2 ) 2 .
and pentafluorophenyl methylsulfonate . The chain sulfonate In some embodiments, the concentration of the electrolyte is
ester may be used alone or in combination of two or more in the range of about 0.8 - about 3 mol/ L , for example, about
thereof.                                                         65 0.8 - about 2.5 mol /L , about 0.8 - about 2 mol /L , about 1 - about
   In some embodiments, the cyclic sulfonate ester accord 2 mol /L , for example, 1 mol/ L , 1.15 mol /L , 1.2 mol /L , 1.5
ing to the present application includes , but is not limited to : mol / L , 2 mol /L or 2.5 mol/L .
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  Solvent                                                               In some embodiments, the sulfur -containing organic sol
  The solvent used in the electrolyte according to the                vent according to the present application includes , but is not
embodiments of the present application may be any non limited to : sulfolane, 2 -methylsulfolane, 3 -methylsulfolane,
aqueous solvent known in the art as a solvent for an dimethyl sulfone, diethyl sulfone, ethyl methyl sulfone,
electrolyte.                                               5 methyl propyl sulfone , dimethyl sulfoxide, methyl methane
   In some embodiments , the non -aqueous solvent useful in sulfonate, ethyl methanesulfonate , methyl ethanesulfonate ,
the present application includes, but is not limited to : a ethyl ethanesulfonate , dimethyl sulfate, diethyl sulfate and
cyclic carbonate ester, a chain carbonate ester, a cyclic dibutyl sulfate, as well as a sulfur - containing organic solvent
carboxylate ester, a chain carboxylate ester, a cyclic ether, a some hydrogen atoms of which are substituted with fluorine.
chain ether, a phosphorus -containing organic solvent, a 10 In some embodiments, the aromatic fluorine -containing
sulfur -containing organic solvent, an aromatic fluorine - con organic solvent according to the present application
taining solvent or any combination thereof.                         includes, but is not limited to : fluorobenzene, difluoroben
    In some embodiments, the cyclic carbonate ester accord zene, trifluorobenzene , tetrafluorobenzene, pentafluoroben
ing to the present application generally has 3-6 carbon zene, hexafluorobenzene , and trifluoromethylbenzene.
atoms , and includes , but is not limited to : for example, 15 In some embodiments, the non -aqueous solvent of the
ethylene carbonate, propylene carbonate, butylene carbon present application may be used alone , or in combination of
ate , and other cyclic carbonates .                                 two or more thereof:
    In some embodiments, the chain carbonate ester accord              II . Electrochemical Device
ing to the present application includes , but is not limited to :      The electrochemical device of the present invention
a chain carbonate ester such as dimethyl carbonate , ethyl 20 includes any device in which an electrochemical reaction
methyl carbonate, diethyl carbonate, methyl n -propyl car takes place , and specific examples include all kinds of
bonate, ethyl n -propyl carbonate , and di - n - propyl carbonate ; primary batteries, secondary batteries , fuel cells , solar cells ,
and a fluorinated chain carbonate ester, for example, bis or capacitors . In particular, the electrochemical device is a
( fluoromethyl) carbonate , bis (difluoromethyl) carbonate, bis lithium secondary battery including a lithium metal second
( trifluoromethyl) carbonate , bis ( 2 - fluoroethyl) carbonate, 25 ary battery, a lithium ion secondary battery, a lithium poly
bis ( 2,2 -difluoroethyl) carbonate, bis (2,2,2 - trifluoroethyl) mer secondary battery or a lithium ion polymer secondary
carbonate , 2 - fluoroethylmethyl carbonate, 2,2 -difluoroeth       battery. In some embodiments , the electrochemical device of
ylmethyl carbonate, and 2,2,2 -trifluoroethylmethyl carbon the present application is an electrochemical device having
ate .                                                               a cathode having a cathode active material capable of
    In some embodiments, the cyclic carboxylate ester 30 absorbing and releasing metal ions ; an anode having a anode
according to present application includes , but is not limited active material capable of absorbing and releasing metal
to : y -butyrolactone, y - valerolactone , and the like, and a ions , and characterized by comprising any of the electrolytes
cyclic carboxylate este some hydrogen atoms of which are of the present application .
substituted with fluorine .                                             Electrolyte
  In some embodiments, the chain carboxylate ester accord- 35           The electrolyte used in the electrochemical device of the
ing to the present application includes , but is not limited to :     present application is any of the aforementioned electrolytes
methyl acetate, ethyl acetate, propyl acetate , isopropyl according to the present application . Moreover, the electro
acetate , butyl acetate , sec -butyl acetate, isobutyl acetate , lyte used in the electrochemical device of the present
tert-butyl acetate , methyl propionate , ethyl propionate , pro application may include other electrolytes falling within the
pyl propionate , isopropyl propionate, methyl butyrate, ethyl 40 scope of present application .
butyrate, propyl butyrate, methyl isobutyrate, ethyl isobu            Anode
tyrate, methyl valerate , ethyl valerate , methyl pivalate and         The anode material used in the electrochemical device
ethyl pivalate or the like , and a chain carboxylate ester some according to the embodiments of the present application can
hydrogen atoms of which are substituted with fluorine. The be prepared using materials, construction and manufacturing
fluorinated chain carboxylate ester includes, but is not 45 methods well known in the art. For example, the anode of
limited to : methyl trifluoroacetate, ethyl trifluoroacetate , the present application can be prepared using the technique
propyl trifluoroacetate , butyl trifluoroacetate and 2,2,2 - trif described in U.S. Pat . No. 9,812,739B , the entire contents of
luoroethyl trifluoroacetate .                                       which are incorporated herein by reference .
    In some embodiments, the cyclic ether according to the             In some embodiments , the anode active material is any
present application includes, but is not limited to : tetrahy- 50 substance capable of electrochemically absorbing and
drofuran , 2 -methyltetrahydrofuran,               1,3 - dioxolane, releasing a metal ion such as lithium ion . In some embodi
2 -methyl- 1,3 -dioxolane, 4 -methyl - 1,3 - dioxolane, 1,3 -diox   ments , the anode active material includes a carbonaceous
ane , 1,4 -dioxane and dimethoxypropane. In some embodi material, a silicon - carbon material, an alloy material or a
ments, the chain ether according to the present application lithium - containing metal composite oxide material. In some
includes , but is not limited to : dimethoxymethane, 1,1- 55 more
dimethoxyethane , 1,2 - dimethoxyethane , diethoxymethane,
                                                             embodiments , the anode active material includes one or
                                                                  of those described above .
1,1 -diethoxyethane, 1,2 - diethoxyethane, ethoxymeth                 In some embodiments, the anode can be formed by adding
oxymethane, 1,1 -ethoxymethoxyethane and 1,2 -ethoxy               a binder and a solvent to , and if necessary , adding a
methoxyethane.                                                     thickener, a conductive material, a filler, or the like the anode
   In some embodiments, the phosphorus-containing organic 60 active material, to prepare a slurry, coating the slurry to a
solvent according to the present application includes, but is current collector, drying, and then pressing.
not limited to : trimethyl phosphate, triethyl phosphate , dim        In some embodiments, when the anode includes an alloy
ethyl ethyl phosphate , methyl diethyl phosphate, ethylene based material, a thin film layer (anode active material layer)
methyl phosphate , ethylene ethyl phosphate, triphenyl phos        as an anode active material can be formed by vapor depo
phate, trimethyl phosphite , triethyl phosphite , triphenyl 65 sition , sputtering, or plating.
phosphite , tris (2,2,2 -trifluoroethyl) phosphate and tris (2,2 ,    In some embodiments , when the anode includes lithium
3,3,3 -pentafluoropropyl) phosphate.                               metal , an anode active material layer is formed from , for
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                             19                                                                 20
example, a conductive skeleton of twisted spherical shape electrode, so that both a single - sided coating and a double
and metal particles dispersed in the conductive skeleton , sided coating are present on the elongated electrode. In a
wherein the conductive skeleton of twisted spherical shape laminated electrochemical device , the cathode and the anode
may have a porosity of about 5 % to about 85 % , and a are usually formed by laminating - shaped electrode s , and
protective layer may be further disposed on the anode active 5 there is only a single - sided coating or a double - sided coating
material layer of lithium metal.                                   on the same electrode. In an electrochemical device in which
   Cathode                                                         the wound and laminated electrode s are assembled in
   The cathode material used in the electrochemical device         combination , the cathode and anode generally comprise an
of the present application can be prepared using materials, elongated electrode having both a single - sided coating and
construction and manufacturing methods well known in the 10 a double - sided coating, and a -shaped electrode having only
art. In some embodiments, the cathode of the present appli a single - sided coating or a double - sided coating.
cation can be prepared using the technique described in U.S.      The electrode has an electrode compaction density . The
Pat . No. 9,812,739B , the entire contents of which are electrode compaction density is obtained by : measuring the
incorporated herein by reference .                              thickness of an electrode using a precise measurement tool ,
   In some embodiments , the cathode active material 15 such as a ten - thousandths micrometer; then taking the elec
includes , but is not limited to : a sulfide , a phosphate salt trode of a certain area and accurately measuring the area and
compound and a lithium - transition metal composite oxide.         weight; and calculating the electrode compaction density by
In some embodiments, the cathode active material includes          a formula below :
a lithium - transition metal compound which has a structure          Electrode compaction density = (Weight of electrode
capable of removing and intercalating lithium ions . In some 20           Weight of current collector) / Area of electrode /
embodiments, the composition of the lithium - transition                  ( Thickness of electrode - Thickness of current
                                                                          collector)
metal compound can refer to the technical content described
in U.S. Pat . No. 9,812,739B .                                    A lower compaction density makes the porosity higher,
   In some embodiments, the cathode is prepared by forming making some of the particles in an insulating state , and
a cathode material from a cathode active material layer 25 unable to participate in charge and discharge , thereby result
including a lithium - transition metal compound powder and ing in a low specific discharge capacity, thus affecting the
a binder on a current collector.                                performance of the electrochemical device. A too high
   In some embodiments, the cathode active material layer compaction density may cause difficulty in infiltrability of
can generally be produced by : dry mixing a cathode material the electrolyte and decrease in solution retention , such that
and a binder (and a conductive material and a thickener, if 30 the cycle and rate performances cannot be guaranteed.
necessary ) to form flakes , pressing the obtained flakes on a Properly controlling the electrodecompaction density of the
cathode current collector or dissolving or dispersing the single - sided and double - sided coating is important to obtain
material in a liquid medium to form a slurry , coating the electrochemical devices with high capacity density, and
slurry on a cathode current collector, and drying. In some         excellent cycle and storage performances.
embodiments, the material of the cathode active material 35           In some embodiments, the electrode with a single - sided
layer includes any material known in the art. In some              coating has an electrode compaction density D1 , and an
embodiments, the cathode active material layer includes            electrode with a double - sided coating has an electrode
materials described in U.S. Pat . No. 9,812,739B .                 compaction density D2 , and D1 and D2 meet the relation
   Electrode Compaction Density                                    ship: about 0.85D1 / D2sabout 1.2 , under this circumstance ,
   The electrochemical device of the present application 40 the effects of the cathode and anode active materials are well
comprises a cathode and an anode , a separator and an exerted , so that the electrode can obtain good electrical
electrolyte . The electrode includes a current collector and a conductivity, which is also important to control the expan
coating on the current collector. The coating includes a sion of electrochemical devices. Therefore , the obtained
single - sided coating, a double - sided coating , or a combina electrochemical device has high capacity density and excel
tion thereof. The single - sided coating is a coating formed by 45 lent cycle and storage performances.
applying a slurry on one surface of the current collector. The        In some embodiments , D1 and D2 meet the relationship :
double -sided coating is a coating formed by applying a about 0.95D1 / D2sabout 1.1 . Under this circumstance , the
slurry on two opposite surfaces of the current collector.          performance of the electrochemical device can be further
   In some embodiments, as shown in FIG . 2 , an electrode improved.
A includes a current collector 1 and a coating 2 on the 50 In some embodiments, D1 and D2 meet the relationship :
current collector 1. As shown in FIG . 2 , the coating 2 is only about 0.9sD1/D2 sabout 1.1 .
present on one surface of the current collector, and such             In some embodiments, D1 and D2 meet the relationship :
coating is a single - sided coating.                               about 0.95sD1/D2sabout 1.05 . Under this circumstance, the
   In some embodiments , as shown in FIG . 3 , an electrode distributions of pores and pore sizes in the single - sided
B includes a current collector 1 and a coating 2 on the 55 coating and the double - sided coating are more uniform , the
current collector. As shown in FIG . 3 , the coating 2 is present distributions of the conductive agent and the binder are more
on two opposite surfaces of the current collector, and such uniform , the contact resistance and charge exchange resis
coating is a double - sided coating.                               tance of the electrode are lowered , and the active area
    In some embodiments , as shown by an electrode C in FIG . capable of participating in the reaction is increased , thereby
4 , one surface of a portion of a current collector 1 is coated 60 significantly improving the electrochemical performance of
with a slurry to form a coating 2 and the two opposite the material and further improving the performances of the
surfaces of the other portion of the current collector 1 are electrochemical device .
coated with a slurry to form a coating 2. Such coating           In some embodiments , the electrode may be a cathode or
includes both a single - sided coating and a double - sided an anode. When the electrode is a cathode, about 3.5
coating                                                     65 g/cm° sD2sabout 4.3 g/cmº . When D2 is within this range,
  In a wound electrochemical device, the cathode and the the cathode can have good electrical conductivity, and the
cathode are usually each formed by winding an elongated            effect of the cathode active material can be well exerted .
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When the electrode is an anode, about 1.2 g/cm'sD2sabout            The use of the electrochemical device according to the
1.8 g/cm3 . When D2 is within this range , the anode can have present application is not particularly limited , and can be
a higher breaking strength , thereby preventing the electrode used in various known applications, such as notebook com
particles from falling off during the cycle .                    puters, pen -input computers, mobile computers, e -book
                                                               5 players , portable phones, portable fax machines, portable
   Separator
   In some embodiments, the electrochemical device of the        copiers , portable printers, head -mounted stereo headphones,
present application is provided with a separator between the playersrecorders
                                                                 video
                                                                         , Mini
                                                                                  , LCD TVs , portable cleaners, portable CD
                                                                                 discs , transceivers, electronic notebooks , cal
positive electrode and the negative electrode to prevent short culators, memory cards       , portable recorders, radios, backup
circuit . The material and shape of the separator used in the 10 power sources , motors , vehicles  , motorcycles , motorbicycle ,
electrochemical device of the present application are not bicycles , lighting apparatus, toys           , game consoles , clocks ,
particularly limited , and may be any of the techniques electric tools , flashing light, cameras
disclosed in the prior art . In some embodiments, the sepa household use , or lithium ion capacitors, large   .
                                                                                                                     batteries for
rator includes a polymer or an inorganic substance or the like
formed from a material which is stable to the electrolyte of 15
the present application .                                                                      EXAMPLES
   For example , the separator may include a substrate layer
and a surface treatment layer. The substrate layer is a               Hereinafter, the present application will be specifically
non -woven fabric, film , or composite film having a porous 20 described by way of examples and comparative examples ;
structure, and the material of the substrate layer is at least however, the present application is not limited thereto as
one selected from polyethylene, polypropylene , polyethyl long as they do not deviate from the spirit of the present
ene terephthalate, and polyimide . Particularly, a porous application.
polypropylene film , a porous polyethylene film , a polypro
pylene nonwoven fabric , a polyethylene nonwoven fabric , or 25 1. Preparation of Lithium - Ion Battery
a porous polypropylene -polyethylene -polypropylene com               ( 1 ) Preparation of an Anode
posite film may be used .                                             Graphite , conductive carbon black (Super - P ), styrene
   At least one surface of the substrate layer is provided with butadiene rubber, and sodium carboxymethyl cellulose
a surface treatment layer, which may be ? polymer layer or (CMC ) were mixed at a weight ratio of about 95 : 2 : 2 : 1 in
an inorganic layer, or a layer formed by mixing a polymer 30 deionized             water as a solvent, and stirred uniformly, to obtain
and an inorganic substance .                                       an   anode       slurry. The slurry was coated on a copper foil
   The inorganic layer comprises inorganic particles and a having a thickness                of about 12 um , dried , cold pressed, and
binder. The inorganic particles are one or more selected from cut, and then a tab was welded, to obtain an anode .
alumina , silica , magnesia , titanium oxide , hafnium dioxide , 35 ( 2 ) Preparation of a Cathode
tin oxide , cerium dioxide , nickel oxide , zinc oxide, calcium
oxide , zirconia, yttria, silicon carbide, boehmite, aluminum         Lithium cobalt oxide ( LiCo02 ) , conductive carbon black
hydroxide, magnesium hydroxide, calcium hydroxide and (Super                 - P ), and polyvinylidene fluoride (PVDF ) were mixed
barium sulfate . The binder is one or more selected from at a weight ratio of about 95 : 2 : 3 in N -methylpyrrolidone as
polyvinylidene fluoride, a copolymer of vinylidene fluoride- 40 a solvent, and stirred uniformly , to obtain a cathode slurry.
hexafluoropropylene, a polyamide, polyacrylonitrile , a poly The slurry was coated on an aluminum foil having a thick
acrylate ester, polyacrylic acid, a polyacrylate salt , polyvi
nylpyrrolidone, polyvinyl ether, polymethyl methacrylate, ness     a tab
                                                                           of about 12 um , dried, cold pressed , and cut , and then
                                                                            was welded , to obtain a cathode.
polytetrafluoroethylene, and polyhexafluoropropylene. The
polymer layer contains a polymer, and the material of the 45 ( 3 ) Preparation of an Electrolyte:
polymer includes at least one of a polyamide , polyacrylo             Under a dry argon atmosphere, EC , PC , and DEC ( at a
nitrile , a polyacrylate ester, polyacrylic acid , a polyacrylate weight ratio of about 1 : 1 : 1 ) were mixed , and then LiPF was
salt , polyvinylpyrrolidone, polyvinyl ether, polyvinylidene added and mixed uniformly, to form a basic electrolyte, in
fluoride or poly ( vinylidene fluoride -hexafluoropropylene ). 50 which the concentration of LiPF is 1.15 mol/L . Different
   III . Application                                                  amounts of substances shown in Tables 1-1 to 9 were added
   At a high voltage , the oxidizability of the cathode material      to the basic electrolyte to obtain the electrolytes of different
is increased , and the stability is lowered , which makes the         examples and comparative examples, wherein the contents
electrolyte easily decompose on the surface of the positive           of each substance in the electrolyte described below were
electrode or results in deterioration of the materials of the 55 obtained based on the total weight of the electrolyte.
electrochemical device, so that the capacity of the electro        ( 4 ) Preparation of a Separator
chemical device is decreased . Prior to the present applica        A   porous PE polymer film was used as a separator.
tion, the primary solution is to add a film - forming additive
to the electrolyte . However, doing so will cause an increase        ( 5 ) Preparation of Lithium - Ion Battery
in the DC internal resistance of the battery, thereby resulting 60 The obtained cathode, anode and separator were wound in
in a decrease in the cycle performance and a decrease in the sequence and placed in the outer packaging foil, with a
capacity retention rate .                                         liquid injection port being left. The electrolyte was injected
   The electrolyte according to the embodiments of the via the liquid injection port, encapsulated , formed and
present application can be used to inhibit the increase in DC capacity graded to obtain a lithium ion battery. The fresh
internal resistance of an electrochemical device, and thus 65 battery herein refers to a battery which is obtained through
applicable to an electronic device comprising the electro aforementioned preparation process and is ready for ship
chemical device.                                                  ping .
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   2. Test Methods of Battery Performance                           ( 4 ) Test Method for Voltage Drop
   ( 1 ) Test Method for Change in DC Internal Resistance at        At 25 ° C. , the battery was charged to 4.45 V at a constant
20 % SOC
   At 25 ° C. , the battery was charged to 4.45 V at a constant  current    of 1 C and then charged to a current of 0.05 C at a
current of 1 C (nominal capacity) and then charged to a 5 constant voltage , discharged to 3.2 V at a constant current of
current of < 0.05 C at a constant voltage of 4.45 V , allowed 1 C , and allowed to stand for 5 minutes . Then the voltage
to stand for 5 min, and discharged to a cut -off voltage of 3 was tested , and after 24 h's storage at 85 ° C. , the voltage was
V at a constant current of 1 C. The actual discharge capacity tested       again . Voltage drop = Voltage before storage - Voltage
was recorded . The battery was adjusted to 50 % of the full after storage .
charge capacity required with the actual capacity, continu 10 ( 5 ) Intermittent Cycle Test Method
ously discharged for 10 s at a current of 0.3 C. The DC             At 50 ° C. , the lithium ion battery was charged to 4.45 V
internal resistances (DCIRs ) ( average of the measurements at a constant voltage of 0.5 C and then to a cut -off current
from 15 batteries ) after one cycle , 200 cycles and 400 cycles of 0.05 C at a constant current, allowed to stand for 20 and
was obtained by dividing the current with the difference then            discharged to 3.0 V at a constant current of 0.5 C.
between     the voltage
end of discharge    . before discharge and the voltage at the 15 Repeating     charge /discharge as above, the capacity retention
                                                                 rate  of  the
   (2 ) Test Method for Storage Performance at High Tem cycles was calculated  fresh  battery , and the battery after 30 , 50 , and 100
perature of 60 ° C.                                                                           respectively. Capacity retention rate
                                                                 after   cycles =  (Discharge   capacity after corresponding cycles /
   The battery was allowed to stand at 25 ° C. for 30 minutes, Discharge capacity of the first cycle )x100 %
charged to 4.45 V at a constant current of 0.5 C and then                       20
                                                                                         3. Test Results
charged to 0.05 C at a constant voltage of 4.45 V, allowed
to stand for 5 minutes, and then stored at 60 ° C. for 21 days .                         The abbreviations for the chemical materials used in the
The thickness expansion rate of the battery was measured                              examples of present application are shown in the following
and calculated by a formula below :                                                  two tables :

                                                               Material          Abbreviation Material Name                                                   Abbreviation
                                                               Ethylene          EC                1,3 -propanesultone                                        PS
                                                             carbonate
                                                               Propylene         PC                Ethylene sulfate                                           DTD
                                                               carbonate
                                                             Ethyl methyl        EMC               Butanedinitrile                                            SN
                                                             carbonate
                                                             Dimethyl            DMC               Adiponitrile                                               ADN
                                                               carbonate
                                                                                                   1,4 -dicyano - 2 -butene                                   DCB
                                                             Diethyl           DEC                 1,3,6 -Hexanetricarbonitrile                               HTCN - 1
                                                             carbonate
                                                             y -butyrolactone GBL                  1,2,6 -Hexanetricarbonitrile                               HTCN- 2
                                                             y - valerolactone VL                  1,3,5 -Pentanetricarbonitrile                              PTCN
                                                             Ethyl propionate EP                   Ethylene glycol bis (2 -cyanoethyl) ether                  EDN
                                                             Propyl            PP                  1,1-difluoro - 2,2 -difluoroethyl-2',2'difluoro            FEPE
                                                             propionate                            3 ',3 '- difluoropropyl ether
                                                                                                   2 -trifluoromethyl- 3 -methoxyperfluoropentane             TMMP
                                                                                                   2-(trifluoro - 2 -fluoro - 3 -difluoro )-3- difluoro - 4   TPTP
                                                                                                   fluoro - 5 - trifluoropentane
                                                             Vinylene            VC                1 -Propylphosphonic cyclic anhydride                       T3P
                                                               carbonate
                                                               Fluoroethylene    FEC               1 -Methylphosphonic cyclic anhydride                       ????
                                                               carbonate
                                                                                                   1 - Ethylphosphonic cyclic anhydride                       ????
                                                                                                   1,2,3 -tris ( 2 -cyanoethoxy )propane                      TCEP


      Thickness expansion rate = [ ( Thickness after storage                    50
           Thickness before storage ) / Thickness before                              Dinitrile compound                   Aj : SN ; A2: ADN ; A3 : EDN ; A4: DCB
           storage ]x100 %                                                            Trinitrile                  B        B1 : HTCN- 1 ; B2 : HTCN- 2 ; B3 : PTCN ;
                                                                                      compound                             B4: TCEP
   (3 ) Test Method for Battery Capacity Retention Rate           Propyl propionate                               ?
                                                                  ( PP )
  At 45 ° C. , the battery was charged to 4.45 V at a constant 55 Fluoroether                                     D         Di : FEPE ; D2 : TMMP ; D3 : TPTP
current of 1 C and then charged to a current of 0.05 C at a anhydride
                                                                  Cyclic phosphonic                               E         Ej : T3P Ez : TM3P ; Ez : TEZP
constant voltage , and discharged to 3.0 V at a constant Other           additives                                          F1 : VC ; F2 : PS ; F3 : DTD
current of 1 C , the above being the first cycle . Multiple Cyclic carboxylate FH                                           H ] : GBL ; H2 : VL
cycles were performed on the battery under the above ester
conditions . The capacity retention rate of the fresh battery 60 side      and double G
                                                                 Single-compaction
and the battery after 200 cycles and 400 cycles was calcu                             density
lated respectively. The capacity retention rate after cycles is
calculated by a formula below :                                                      ( 1 ) Different amounts of a compound comprising two
      Capacity retention rate after the cycle = (Discharge                      65 cyano groups, a compound comprising three cyano groups
           capacity after corresponding cycles/Discharge                           and / or propyl propionate as shown in Tables 1-1 and 1-2
           capacity after the first cycle ) x100 %                                    were added to the basic electrolyte. The electrolyte was
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                                 25                                                                          26
injected into a battery prepared according to the above                        and Y meet about 2 wt % s ( X + Y ) sabout 8 wt % and about
method . The DC internal resistance at 20 % SOC of the                         0.15 ( X / Y ) sabout 6 , the combination of the additives can
batteries was tested . The test results are shown in Tables 1-1                exhibit synergistic effect and can sufficiently suppress the
and 1-2 .                                                                      increase in DC internal resistance .
                                       TABLE 1-1
                                                               DC internal resistance
                                                                   (m2) at 20 % SOC
             A1         B1         C                       Fresh       After       After
         ( X wt % ) ( Y wt % ) (Z wt % )   X +Y    X /Y    Battery 200 cycles 400 cycles
S1-1        4           1         30        5      4        50.8        84.3        91.2
S1-2
S1-3
S1-4
            4
            4
            4
                        2
                        3
                        0.5
                                  30
                                  30
                                  30
                                            vau
                                            6
                                            7
                                            4.5
                                                   2
                                                    1.3
                                                    8
                                                            54.4
                                                            55.7
                                                            57.8
                                                                        88.0
                                                                        88.9
                                                                        92.0
                                                                                    98.6
                                                                                    99.4
                                                                                   101.0
S1-5        3           0.5       30        3.5     6       57.1        91.2        93.5
S1-6        4           0.4       30        4.2    10       55.9        99.4       112.8
S1-7        3           2         30        5       1.5     52.3        84.4          91.5
S1-8        2           2         30        4       1       51.9        84.2        91.4
S1-9        1           2         30        3       0.5     52.3        86.5        92.4
S1-10       0.5         2         30        2.5     0.25    54.8        79.4       102.5
S1-11       0.2         2         30        2.2     0.1     59.2        91.8       105.3
S1-12       1           5         30        6       0.2     58.5        97.0       104.1
S1-13       7           3         30       10       2.3     60.4        92.9       107.3
D1-1                    0          0        0       0       63.8       140.9       190.4
D1-2        0           1          0        1       0       62.3       138.5       188.2
D1-3        4           0          0        4       0       61.8       136.5       184.2
D1-4        0.1         1                   1.1    0.1      63.8       120.9       126.4
D1-5         4          0.1        0        4.1   40        68.3       109.8       124.9
D1-6         7          5          0       12      1.4      69.2       112.3       133.0
D1-7         1         11          0       12      0.09     63.8       100.9       139.3
D1-8        11          1          0       12     10        72.0       116.3       135.4

                                                                          30



                                       TABLES 1-2
                                                               DC internal resistance
                                                                   m2
                                                                   ( ) at 20 % SOC
                  B                ?                       Fresh       After      After
      (X wt % ) (Y wt % )      (Z wt % )   X +Y    X/Y     Battery 200 cycles 400 cycles
S1-14 A (4 )    B2 (3 )           30        7      1.3      55.5        88.1          98.7
S1-15 A2(4 )      B2 ( 0.5 )      30        4.5    8        57.2        91.6       100.6
S1-16 A ( 3 )     B2 ( 0.5 )      30        3.5    6        55.9        89.4        98.8
S1-17 A3 (3 )     B3 ( 2 )        30        5      1.5      51.1        82.6        90.7
S1-18 A3 (2)      B3 ( 2 )        30        4      1        51.2        83.3        90.5
S1-19 A3 ( 1 )    B3 (2 )         30        3      0.5      51.3        85.1        91.1
S1-20 A3 (0.5 )   B4 ( 2 )        30        2.5    0.25     54.3        79.1          90.1
S1-21 A2 (0.2 )   B2 ( 2 )        30        2.2    0.1      58.5        91.2       104.8
S1-22 A2 ( 1 )    B2 ( 5 )        30        6      0.2      58.1        96.5       103.3
S1-23 A2 (7)      B2 (3 )         30       10      2.3      60.2        92.3       106.5
S1-24 A4 (2 )     B3 (2 )         30        4      1        57.9        86.1          93.4


                                                                          50
   As shown in Table 1-1 , in Comparative Examples D1-1 to                       FIG . la shows the DC internal resistances of fresh bat
D1-8 , butanedinitrile or 1,3,6 - hexanetricarbonitrile was teries of Examples S1-1 and S1-2 of the present application
added alone, and no propyl propionate was added . The DC and Comparative Example D1-1 at different charge states
internal resistance of the battery was significantly increased ( 10 % SOC , 20 % SOC , and 70 % SOC ) . FIG . 1b shows the
after cycles .                                                55 DC internal resistances of batteries of Examples S1-1 and
   When butanedinitrile , 1,3,6 -hexanetricarbonitrile and D1-1  S1-2 of the present application and Comparative Example
propyl propionate were used in Examples S1-1 to S1-13 70% SOC         at different charge states ( 10 % SOC , 20 % SOC , and
simultaneously, the increase in DC internal resistance of the shows the) DC after 200 cycles of charge and discharge. FIG . 10
                                                                                internal resistances of batteries of Examples
battery after cycles was obviously inhibited .                   S1-1 and S1-2 of the present application and Comparative
   When the propyl propionate content is kept unchanged , 60 Example D1-1 at different charge states ( 10% SOC , 20%
and the relation between the butanedinitrile content X and                     SOC , and 70% SOC ) after 400 cycles of charge and dis
the 1,3,6 -hexanetricarbonitrile content Y is adjusted, it is                  charge. It can be seen that the increase in DC internal
found that when X and Y meet the conditions represented by                     resistance during cycles in Examples S1-1 and S1-2 is
both Formula ( 1 ) and Formula (2 ) : { about 2 wt % s ( X + Y ) significantly improved compared with Comparative
sabout 11 wt % ... (1); and about 0.15 (X / Y ) sabout 8 ... 65 Example D1-1.
( 2 ) } , the inhibition effect on the increase in DC internal                    As shown in Table 1-2 , when the dinitrile compound is
resistance of the battery after cycles is remarkable . When X                  adiponitrile or ethylene glycol bis ( 2 - cyanoethyl) ether, and
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the trinitrile compound is 1,2,6 - hexanetricarbonitrile, 1,3,6              injected to a battery prepared according to the above
Hexanetricarbonitrile, or 1,2,3 - tris ( 2 - cyanoethoxypropane,             method . The DC internal resistance at 20 % SOC and the
the effect of inhibiting the increase in DC internal resistance              21 -day thickness expansion rate at 60 ° C. were tested . The
can also be achieved . When the dinitrile compound is 5 test results are shown in Table 3 .
ethylene glycol bis ( 2 -cyanoethyl ) ether, or the trinitrile com
pound is 1,2,3 - tris ( 2 -cyanoethoxy)propane, the effect of                                                TABLE 3
inhibiting the increase in DC internal resistance of the 10                          D                 DC internal resistance m2
                                                                                                                                       21-day thickness
                                                                                                                              ( ) expansion rate at
battery after cycles is more significant.                            ( content , wt % ) of fresh battery at 20 % SOC                        60 ° C.
   (2 ) Different amounts of a compound comprising two S1-1 0                                        50.8                                   7.6 %
cyano groups, a compound comprising three cyano groups S3-1          D (0.1 )
                                                                S3-2 D (0.5 )
                                                                                                     50.2
                                                                                                     49.8
                                                                                                                                            6.2
                                                                                                                                            6.0 %
and / or propyl propionate as shown in Table 2 were added to 15 S3-4
                                                                S3-3 DD ((11.5) )                    48.6
                                                                                                     48.5
                                                                                                                                            5.7 %
                                                                                                                                            5.1 %
the basic electrolyte . The electrolyte was injected into a S3-5 D (2)                               48.4                                   4.8 %
battery prepared according to the above method . The DC S3-6         D ( 2.5 )
                                                                S3-7 D ( 3 )
                                                                                                     48.3
                                                                                                     48.1
                                                                                                                                            4.9 %
                                                                                                                                            5.6 %
                                                                S3-8 D ( 5 )
internal resistance at 20 % SOC of the battery was tested . The S3-9                                 49.3                                   6.8 %
                                                                     D (1 )                          49.2                                   6.1 %
test results are shown in Table 2 .
                                    TABLE 2
                                                       DC internal resistance
                                                           (m2 ) at 20 % SOC
              ?        A1        Bi                Fresh       After         After
          (Z wt % ) (X wt % ) (Y wt % )    Y /Z    battery 200 cycles 400 cycles
S1-1        30          4           1     0.03      50.8         84.3         91.2
S2-1          5         4         1       0.2       68.7         85.2         97.6
S2-2        10          4           1     0.1       60.3         83.1         95.7
S2-3        20          4           1     0.05      56.1         81.6         93.9
S2-4        40          4           1     0.025     47.5         78.2         87.2
S2-5        50          4         1       0.02      56.3         82.6         98.3
S2-6        10          4        3        0.3      64.3          89.5         97.7
S2-7        50                   0.5      0.01     53.2          84.3         94.1
D2-1         4                      1     0.25     72.1         108.5        118.9
D2-2        60          4           1     0.017    42.0         100.1        113.9
D2-3        10          4        5        0.5      62.3          85.4        111.3
D2-4        50          4        0.1      0.0025   53.2          89.3        109.4


                                                                        40
  As shown in Table 2 , when the content of propyl propi                                              TABLE 3 - continued
onate is within the range of 5 wt % to 50 wt % , the DC                                                                           21 -day thickness
internal resistance of the fresh battery decreases continu                           D                 DC internal resistance m2
                                                                                                                              ( ) expansion rate at
ously with the propyl propionate content increasing. In 45                           ( content , wt % ) of fresh battery at 20 % SOC        60 ° C.

addition , when the content of the propyl propionate is less S3-10 D3 (1 )                         49.4                 5.7 %
than 5 wt % or greater than 50 wt % , the DC internal             D3-1  D (6 )                     51.3                 8.5 %

resistance of the battery is greatly increased after 200 cycles ,
and the performance is deteriorated. The combination of 50 As can be seen from Table 3 , with the addition of
                                                                  fluoroether (0.1-5 wt % ) , the DC internal resistance and the
additives can form a cathode protection film so as to reduce thickness        expansion rate of the fresh battery are improved to
the side reactions , thereby effectively controlling the polar               a certain extent, and the storage performance is slightly
ization and side reactions of the battery. The ratio of the decreased when the addition amount is large, but it is still
content of the trinitrile compound to the content of propyl 55 more
                                                               within the desired range. When the fluoroether content is
                                                                     than 5 wt % , the DC internal resistance and the
propionate has great effect on the change in DC internal thickness expansion rate after storage at 60 ° C. of the fresh
resistance of the battery. When Y / Z is within the range of battery are deteriorated .
0.01-0.3 , a better inhibition effect on the increase in DC 60                  ( 4 ) To the basic electrolyte , 30 wt % of propyl propionate,
internal resistance is achieved .
                                                                             4 wt % of butanedinitrile (A1), 1 wt % of 1,3,6 -hexanetri
                                                                             carbonitrile (B1 ) and a cyclic phosphonic anhydride of
   (3 ) To the basic electrolyte, 30 wt % of propyl propionate,              different contents as shown in Table 4 were added . The
                                                               obtained electrolyte was injected to a battery prepared
4 wt % of butanedinitrile (A1), 1 wt % of 1,3,6 -hexanetri 65 according  to the above method . The DC internal resistance
carbonitrile ( B1 ) and a fluoroether of different contents as at 20 % SOC and the capacity retention ratio of the battery
shown in Table 3 were added . The obtained electrolyte was                   were tested . The test results are shown in Table 4 .
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                                      29                                                                                                  30
                                                TABLE4
                          DC internal resistance m2
                                                 ( ) at 20 % SOC                       Capacity retention rate
       E                     Fresh             After                 After          Fresh        After         After
       ( content, wt %)     battery          200 cycles         400 cycles battery 200 cycles 400 cycles
S1-1   0                     50.8              84.3                    91.2         100 %        93.5 %        86.3 %
S4-1 E (0.1 )                48.3              51.5                    88.2         100 %        95.7 %        90.1 %
S4-2 E (0.5 )                45.4              48.2                    82.3         100 %        96.3 %        91.4 %
S4-3 Ei ( 1 )                44.6              47.1                    80.5         100 %        96.1 %        90.7 %
S4-4 E1 (2 )                 45.6              47.3                    81.6         100 %        95.2 %        89.6 %
S4-5 E1 (3 )                 45.9              49.1                    89.4         100 %        94.7 %        88.5 %
S4-6 E2 ( 1 )                45.2              48.3                    88.3         100 %        95.3 %        91.0 %
S4-7 E3 (1 )                 45.3              48.7                    89.5         100 %        95.1 %        90.8 %
D4-1 E ( 4)                  46.1              58.6                  105.3          100 %        92.1 %        85.3 %

                                                                                            15

   It can be seen from Table 4 that with the addition of cyclic    ( 5 ) To the basic electrolyte, 30 wt % ofpropyl propionate ,
phosphonic anhydride (0.1-3 wt % ) , the DC internal resis      4 wt % of butanedinitrile (A1 ) , 1 wt % of 1,3,6 -hexanetrini
tance of the fresh battery and the battery after cycles is      trile ( B1 ) and a fluoroether and a cyclic phosphonic anhy
improved to a certain extent, which may be attributed to the
relatively stable structure of the composite protective film 20 dride of different contents as shown in Table 5 were added .
formed by the combined additives ; and the cycle perfor                                          The obtained electrolyte was injected to a battery prepared
mance is improved first and then deteriorated with the                                           according to the above method . The DC internal resistance
addition of the cyclic phosphonic anhydride. When the                                            at 20% SOC , the 21 -day thickness expansion rate at 60 ° C. ,
content more than 3 wt % , the cycle performance is
affected , which may be caused by the decomposition of the                                       and the capacity retention rate of the battery were tested . The
cyclic phosphonic anhydride.                                                                     test results are shown in Table 5 .
                                                                                                          TABLE 5
                                                                                                                                      21 - day
                                                                                                  DC internal resistance             thickness
                                                                                                   (m2) at 20 % SOC                  expansion         Capacity retention rate
                                                      D                Ei          Fresh    After      After                          rate at    Fresh        After        After
                                              ( content: wt % ) ( content: wt % ) battery 200 cycles 400 cycles                       60 ° C.    battery 200 cycles 400 cycles
                                     S1-1              0                      0              50.8         84.3          91.2           7.6 %     100 %        93.5 %       86.3 %
                                     S3-1              0.1                    0              50.2         83.1          90.4           6.2 %     100 %        94.2 %      87.9 %
                                     S4-2              0                      0.5            45.4         48.2          82.3           6.7 %     100 %        96.3 %      91.4 %
                                      S5-1             0.1                    0.5            44.7         47.2          80.8           6.0 %     100 %        96.4 %      91.6 %
                                     S5-2              1                      0.5            43.8         46.3          80.5           5.3 %     100 %        96.8 %      91.7 %
                                     S5-3              1                      0.3            44.1         48.2          79.3           4.3 %     100 %        97.1 %      92.3 %
                                     S5-4              1                      0.1            46.3         50.5          86.2           4.5 %     100 %        97.6 %       92.9 %
                                      S5-5             3                      2              43.5         47.1          81.3           4.0 %     100 %        94.8 %       89.4 %


                                                                                                    As can be seen from Table 5 , with the addition of the
                                                                                               fluoroether and the cyclic phosphonic anhydride, the DC
                                                                                            45 internal resistance , the storage performance and the cycle
                                                                                               performance of the fresh battery and the battery after cycles
                                                                                               are further improved.
                                                                                                  ( 6 ) To the basic electrolyte , 30 wt % of propyl propionate,
                                                                                                 4 wt % of butanedinitrile (A1), 1 wt % of 1,3,6 -hexanetri
                                                                                            50
                                                                                                 carbonitrile ( B1 ) and other additives of different contents as
                                                                                                 shown in Table 6 were added . The obtained electrolyte was
                                                                                                 injected to a battery prepared according to the above
                                                                                                 method. The voltage drop after storage at 3.2V and 85 ° C.
                                                                                                 for 24 h of the battery were tested . The test results are shown
                                                                                                 in Table 6 .
                                                                                                               TABLE 6
                                                                                                                                                               Voltage drop after
                                                                 VC                  VEC                  FEC                  PS                DTD          storage at 3.2 V and
                                                           ( content: wt % ) ( content: wt % ) ( content: wt % ) (content: wt % ) ( content : wt % )            85 ° C. for 24 hrs
                                              S6-1               0.5                                                                                                   0.35 V
                                              S6-2
                                             S6-3
                                                                 0.5
                                                                 0.5
                                                                                                          11                                     0.5
                                                                                                                                                                       0.32 V
                                                                                                                                                                       0.23 V
                                             S6-4                1
                                                                                                                               |
                                                                                                                               ??
                                                                                                                               ???
                                                                                                                                                 1
                                                                                                                                                 1
                                                                                                                                                                        0.3 V
                                             S6-5                1                    1
                                                                                      ||                   3                                                           0.20 V
                                             S6-6                                     0.5                                                        0.5                   0.25 V
                                              D6-1                                                                             I
                                                                                                                                                                        0.4 V
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                                    31                                                                                 32
  The addition of the film - forming additives VC , VEC ,                                ( 9 ) To the basic electrolyte, 30 wt % of propyl propionate ,
FEC , PS , DTD can further improve the stability of the solid 4 wt % of butanedinitrile ( A1 ), 1 wt % of 1,3,6 -hexanetri
electrolytic interface ( SEI ) film of the battery. Using a carbonitrile ( B1 ) and a cyclic carboxylate ester of different
combination of various additives is more conducive to contents as shown in Table 9 were added . The obtained
improve the stability of the battery, which is beneficial to the 5 electrolyte was injected to a battery prepared according to
long -term storage of the battery and thus improves the the above method . The capacity retention rate after inter
battery reliability.                                               mittent cycle of the obtained battery was tested . The test
   ( 7 ) To the basic electrolyte , 30 wt % of propyl propionate , results are shown in Table 9 .
4 wt % of butanedinitrile (A1), 1 wt % of 1,3,6 -hexanetri
carbonitrile ( B1 ) were added . The obtained electrolyte was 10                            TABLE 9
injected to a battery prepared according to the above
method . The electrode compaction density ratio (D1 / D2 ) of                                Capacity retention rate after intermittent
                                                                                                              cycle
the battery was changed according to Table 7 , and the
capacity retention rate of the battery was tested . The test                                Fresh After 30 After 50 After 100
results are shown in Table 7 .                                                   15           H ( content: wt % ) battery   cycles    cycles     cycles
                                                                                      S1-1    0                    100 %    73.80 %   64.30 %   54.50 %
                                TABLE 7                                               S9-1    H (1)                100 %    82.50 %   74.60 %   64.20 %
                                                                                    S9-2      H ( 10 )             100 %    87.20 %   81.40 %   77.20 %
                                              Capacity retention rate               S9-3      H (20 )              100 %    86.20 %   81.30 %   78.00 %
                                                                                    S9-4      H ( 30 )             100 %    88.30 %   83.30 %   79.80 %
              Compaction             Fresh         After 200        After 400    20
                                                                                    S9-5      H1(40)               100 %    87.50 %   80.60 %   75.20 %
         density ratio ( D1 /D2 )   battery            cycles        cycles         S9-6      H1 (50)              100%     86.30 %   74.40 %   63.20 %
                                                                                      S9-7    Hi ( 60 )            100 %    85.20 %   71.60 %   57.60 %
S7-1              0.8                100 %             93.8 %        89.3 %           S9-8                                            73.20 %   61.80 %
S7-2              0.9                100 %             95.3 %        90.1 %
                                                                                              H2 (1 )              100 %    81.80 %
S7-3              0.95               100 %             95.9 %        90.8 %
                                                                                      S9-9    H ( 10 )             100 %    86.50 %   80.80 %   76.10 %
                                                                                      S9-10   H2 (20 )             100%     85.30 %   81.30 %   77.10 %
S7-4              1.0                100 %             96.8 %        91.4%       25 S9-11     H2 (30 )             100 %    88.10 %   83.00 %   79.30 %
S7-5              1.05               100 %             95.8 %        90.7 %           S9-12   H2 (40 )             100 %    87.10 %   80.10 %   74.80 %
S7-6              1.1                100 %             95.2 %        90.2 %           S9-13   H2 (50 )             100 %    85.20 %   73.70 %   61.90 %
S7-7              1.2                100 %             93.7 %        88.8 %                                                           70.10 %   55.90 %
D7-1              1.3                100 %             91.2 %        83.6 %
                                                                                      S9-14   H2 ( 60 )            100 %    82.20 %
D7-1              0.7                100 %             90.5 %        82.7 %
                                                                                 30      The capacity retention rate after intermittent cycle of the
  As can be seen from Table 7 , the electrode compaction                              battery increases with the increase of the amount of the
density ratio ( D1 /D2 ) of the lithium ion battery has a cyclic carboxylate                ester, possibly because the cyclic car
significant effect on the cycle performance of the lithium ion boxylate           forms a passivated film on the surface of the
battery. A too large or too small D1 /D2 will damage the 35 cathode  is close
                                                                               . However, when the cyclic carboxylate ester content
                                                                                 to 40 wt % , the intermittent cycle performance
cycle performance of lithium - ion batteries. It can be seen deteriorates
that when D1 /D2 is within the range of 0.8-1.2 , a better cycle side reactiontobetweena certain extent, which is mainly caused by a
                                                                                              LiPF , and the cyclic carboxylate ester.
performance is obtained, possibly because the combined Therefore                  , the amount of the cyclic carboxylate ester is
additives facilitate the reduction of the electrode interface
resistance and the reduction of the cell polarization.               preferably moderate and should not be too large.
                                                                        References throughout the specification to “ some embodi
   ( 8 ) To the basic electrolyte, 30 wt % of propyl propionate , 40 ments
4 wt % of butanedinitrile ( A1), 1 wt % of 1,3,6 -hexanetri “ another       ” , “ partial embodiments ” , “ one embodiment” ,
carbonitrile ( BI ) and a cyclic phosphonic anhydride of tial                    example ”, “ example ”, “ specific example ” or “ par
different contents as shown in Table 8 were added . The                   examples ” mean that at least one embodiment or
obtained electrolyte was injected to a battery prepared                               example of the application includes specific features, struc
according to the above method. The electrode compaction 45 tures
                                                           ments, materials
                                                                  or examplesor. characteristics describedappear
                                                                                 Thus, the descriptions      in thethroughout
                                                                                                                     embodi
density ratio (D1 /D2 ) was changed according to Table 8 , and                        the specification , such as “ in some embodiments ” , “ in an
the capacity retention rate of the obtained battery was tested .
The test results are shown in Table 8 .                                               embodiment ”, “ in one embodiment” , “ in another example ”,
                                                                                      " in an example ", " in a particular example" or " for example " ,
                                TABLE 8                                          50 are not necessarily the same embodiment or example in the
                                                                                    application . Furthermore, the particular features, structures ,
                                                 Capacity retention rate            materials or characteristics herein may be combined in any
                                                                        After
                                                                                    suitable manner in one or more embodiments or examples.
            Di            E1                  Fresh     After 200        400
                                                                                       While the illustrative embodiments have been shown and
         ( content :) ( content:)            battery      cycles        cycles   55 described, it will be understood by those skilled in the art
S8-1                                0.8       100 %       94.9 %        90.1 %
                                                                                    that the embodiments are not to be construed as limiting the
S8-2
             1
             1                      1.0       100 %       97.3 %        92.5 %      present invention , and modifications, substitutions and
S8-3                                1.2       100 %       94.8 %        89.9 %      changes can be made to the embodiments without departing
S8-4                      0.3       0.8       100 %       94.3 %        89.6 %      from the spirit and scope of the present application .
S85
S8-6
                          0.3
                          0.3
                                    1.0
                                    1.2
                                              100 %
                                              100 %
                                                          97.9 %
                                                          95.0 %
                                                                        92.2 %
                                                                        90.5 %
                                                                                 60    The above - described embodiments of the present inven
S8-7         1            0.3       1.0       100 %       98.1 %        93.3 %      tion are intended to be illustrative only. Numerous alterna
                                                              tive embodiments may be devised by persons skilled in the
                                                              art without departing from the scope of the following claims
   With the addition of the fluoroether or the cyclic phos       The above - described embodiments of the present inven
phonic anhydride, the cycle performance of the lithium ion 65 tion are intended to be illustrative only. Numerous alterna
battery is further improved when the electrode compaction tive embodiments may be devised by persons skilled in the
density of the battery is within the range of 0.8-1.2 .       art without departing from the scope of the following claims .
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   What is claimed is :                                                            where in Formula ( 6 ) , x , y , and z represent an integer from
   1. An electrolyte , comprising a dinitrile compound, a                             O to 5 , and x , y , and z are not 0 at the same time ; and
trinitrile compound, and propyl propionate, wherein , based                        in Formula ( 7 ) , R, represents hydrogen or an alkyl group
on a total weight of the electrolyte, a weight percentage of                          having 1-5 carbon atoms, R. , R, and R , are each
the dinitrile compound is X and a weight percentage of the 5                          independently an alkylene group having 1-5 carbon
trinitrile compound is Y, where X and Y meet conditions                               atoms, and X4 , X , and X. are each independently
represented by Formula ( 1 ) and Formula (2 ) :                                          R , CN , in which R, represents an alkylene group
       about 2 wt % s ( X + Y )sabout 11 wt %                  (1 ); and              having 1-5 carbon atoms.
       about 0.15 ( X / Y ) sabout 8                                    5. The electrolyte according to claim 1 , wherein the
                                                                    (2) ,
                                                                            10
                                                                     trinitrile compound is one selected from the group consisting
    wherein , based on the total weight of the electrolyte, a of 1,3,5 -pentanetricarbonitrile; 1,2,3 -propanetrinitrile; 1,3 ,
       weight percentage of the propyl propionate is Z , where 6 -hexanetricarbonitrile ; 1,2,6 -hexanetricarbonitrile; 1,2,3
       Y and Z meet a condition represented by Formula ( 3 ) : tris       ( 2 -cyanoethoxy )propane ; 1,2,4- tris(2 -cyanoethoxy )bu
        about 0.015 ( Y / Z )sabout 0.3                     (3) . 15 tane; 1,1,1 -tris ( cyanoethoxymethylene ) ethane; 1,1,1 - tris
    2. The electrolyte according to claim 1 , wherein the ( cyanoethoxymethylene)propane; 3 -methyl- 1,3,5 - tris( cya
dinitrile compound comprises a compound of Formula (4 ) or noethoxy ) pentane; 1,2,7 - tris (cyanoethoxylheptane; 1,2,6
( 5) :                                                               tris (cyanoethoxy)hexane; 1,2,5 - tris ( cyanoethoxy )pentane;
                                                                            20   and any combination thereof.
       CN — R1 - CN (4) ;
                                                                         6. The electrolyte according to claim 1 , wherein X is
       CN — R2–0 - R3)n - O - R4 - CN ( 5 ) ;                          about 0.01-10 wt % , Y is about 0.01-10 wt % , and a weight
   or a combination thereof,                                           percentage Z of the propyl propionate is about 5-50 wt % .
   where Ri , R2 , Rz and R4 are each independently an 25 ing7.a The               electrolyte according to claim 1 , further compris
                                                                             fluoroether     comprising at least one of the compounds
      alkylene group having 1-5 carbon atoms or an alk
      enylene group having 2-5 carbon atoms ,                          of Formula ( 8 ) , Formula ( 9 ) , Formula ( 10 ) or Formula ( 11 ) :
   and n represents an integer from 0 to 5 .                                 Rf1 - O - Rf2                                                     ( 8) ;
   3. The electrolyte according to claim 1 , wherein the
dinitrile compound is one selected from the group consisting
of butanedinitrile, glutaronitrile, adiponitrile, 1,5 -dicyano 30            Rf1-0 — R                                                         (9) ;
pentane, 1,6 -dicyanohexane, 1,7 -dicyanoheptane, 1,8 -dicya
nooctane, 1,9 -dicyanononane, 1,10 -dicyanodecane, 1,12- di                  Rf1-0— (R ' — O )n -Rf2                                   (10) ; and
cyanododecane, tetramethylbutanedinitrile , 2 -methylglut
aronitrile, 2,4 -dimethylglutaronitrile, 2,2,4,4 - tetramethyl
glutaronitrile, 1,4 -dicyanopentane, 2,6 - dicyanoheptane, 2,7 35            Rf1-0— ( R ' — O ) n - R                                        ( 11 ) ,
dicyanooctane, 2,8 -dicyanononane, 1,6 -dicyanodecane, 1,2
dicyanobenzene, 1,3 -dicyanobenzene, 1,4 -dicyanobenzene,                wherein Formulae ( 8 ) , ( 9 ) , ( 10) , and ( 11 ) , Rf1 and Rf2 are
3,5 -dioxa- pimelonitrile, 1,4 - bis ( cyanoethoxy ) butane, ethyl          each independently a linear or branched C , to C12
ene glycol bis ( 2 -cyanoethyl )ether, diethylene glycol bis ( 2            fluoroalkyl group having at least one hydrogen atom
cyanoethyl )ether, triethylene glycol bis ( 2 - cyanoethyl ) ether, 40      substituted with fluoro , R is a linear or branched C , to
tetraethylene glycol bis ( 2 -cyanoethyl ) ether, 3,6,9,12,15,18            C12 alkyl group , and R' is a linear or branched C , to C5
hexaoxaeicosanoic dinitrile, 1,3 -bis (2 -cyanoethoxy )pro                  alkylene group, and n is an integer from 1 to 5 .
pane, 1,4 - bis ( 2 - cyanoethoxy ) butane , 1,5- bis(2 - cyanoeth       8. The electrolyte according to claim 7 , wherein Rf1 or
oxy )pentane, ethylene glycol bis ( 4 -cyanobutyl ) ether, 1,4 45 Rf2 is each independently a fluoroalkyl group selected from
dicyano - 2 -butene, 1,4 -dicyano - 2 -methyl - 2 -butene, 1,4 the group consisting of HCF2- , CF3— , HCF CF2
dicyano - 2 - ethyl - 2 -butene, 1,4 -dicyano -2,3- dimethyl-2 CH , CF CF , CH , CF CF , (CF3)2CH HCF2
butene, 1,4 -dicyano - 2,3 -diethyl - 2 -butene, 1,6 -dicyano -3 CF , CH , — , CF , CH CH , HCF CF CF , CH ,— , HCF2
hexene, 1,6 - dicyano - 2 -methyl - 3 -hexene, 1,6 -dicyano - 2 CF CF CF , CH , CF CF , CH , CF CFHCF, CH ,
methyl - 5 -methyl - 3 -hexene, and any combination thereof. 50 HCF2CF (CF3)CH2 , and CF3CF2CH2CH2- .
   4. The electrolyte according to claim 1 , wherein the                 9. The electrolyte according to claim 7 , wherein the
trinitrile compound comprises a compound of Formula ( 6 ) fluoroether is one selected from the group consisting of:
or (7 ) :                                                              HCF2CF2CH2OCF2CF2H , ( CF3 ) 2CFCF (CF2CF3 ) ( OCHZ ) ,
                                                                           CF3CHFCF2CH ( CH3 ) OCF2CHFCF3 , HCF2CF2CH2OCF2
                                                                    (6)
                                                                        55 CF2CF2CF, H , HCF2CF2OCH_CF3 , HCF2CF2OCH CH2
      CN— (CH2). —CH {( CH2), —CN } — (CH2)2 – CN ;                              OCF2 CF2H , HCF2CF2OCH2CH2CH2OCF2CF2H , HCF2
                                                                     (7)
                                                                                 CF2CH2OCF2CF2CF2H , HCF2CF2OCH CH2OCF2CF2
                            R5                                                   CF , H , HCF CF OCH CH CH OCF CF CF , H , CH ,OCH ,
                                                                               CH_OCH , CH , F, CH , OCH_CH_OCH_CF3, CHOCH , CH
      X4           -Ro            -R7-0 — X5 ;                              60 (CH3 )OCH, CH F, CH , OCH CH ( CH3)OCH , CF3, FCH,
                            RS
                                                                               CHOCH ,CH ,OCH , CH ,F , FCH , CH , OCH , CH (CH3)
                                                                               OCH ,CH , F, CF , CH O ( CH2CH2O ), CH ,CF3, CF , CH ,
                                                                               OCH , CH ( CH3 ) OCH_CF3 , and any combination thereof.
                            -0
                            X6                                                   10. The electrolyte according to claim 1 , further compris
                                                                            65 ing a cyclic phosphonic anhydride, based on the total weight
                                                                                 of the electrolyte , a content of cyclic phosphonic anhydride
   or a combination thereof,                                                     is about 0.01-10 wt % .
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     11. The electrolyte according to claim 1 , further compris            double -sided coating is a coating formed by applying a
ing one selected from a group consisting of: a cyclic                      slurry on two opposite surfaces of the current collector ;
carbonate ester having a carbon - carbon double bond , a                   and
fluorinated chain carbonate ester, a fluorinated cyclic car             the electrode with the single - sided coating has an elec
bonate ester, a compound having a sulfur -oxygen double 5                  trode compaction density D1 , and the electrode with
bond , and any combination thereof.                                        the double - sided coating has an electrode compaction
     12. The electrolyte according to claim 1 , further compris            density D2 , wherein D1 and D2 meet the relationship :
ing a cyclic carboxylate ester, including y -butyrolactone or              about 0.85D1/ D2sabout 1.2 .
y -valerolactone or a combination thereof.                              15. The electrochemical device according to claim 14 ,
     13. An electrochemical device, wherein the electrochemi- 10 wherein the electrode s comprise a cathode and a anode ,
cal device comprises electrodes and an electrolyte compris wherein when the electrode is a cathode, 3.5 g/cm’sD2s4.3
ing a dinitrile compound, a trinitrile compound, and propyl g/cmº ; or when the electrode is an anode, 1.2 g/cmºsD2s1.8
propionate, wherein , based on the total weight of the elec g/cm .
trolyte, the weight percentage of the dinitrile compound is X           16. An electronic device, comprising an electrochemical
and the weight percentage of the trinitrile compound is Y, 15 device that includes electrodes and an electrolyte comprising
where X and Y meet the conditions represented by Formula a dinitrile compound , a trinitrile compound , and propyl
( 1 ) and Formula (2 ) :                                             propionate , wherein , based on the total weight of the elec
         about 2 wt % s ( X + Y ) sabout 11 wt %          ( 1 ); and trolyte , the weight percentage of the dinitrile compound is X
                                                                     and the weight percentage of the trinitrile compound is Y,
      about 0.15 ( X / Y ) sabout 8                         (2). 20 where X and Y meet the conditions represented by Formula
   14. The electrochemical device according to claim 13 , ( 1 ) and Formula (2 ) :
wherein the electrode comprises a current collector and a         about 2 wt % s ( X + Y ) sabout 11 wt %                     ( 1) ; and
coating on the current collector, the coating comprising a
single - sided coating and a double - sided coating, wherein : 25 about 0.15 (XY) sabout 8                                         (2 ) .
  the single - sided coating is a coating formed by applying
     a slurry on one surface of the current collector ; and the
